Case 3:19-cv-00834-Taé®-JRK Document1 Filed 07/16/19emPage 1 of 64 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA,
THE STATE OF FLORIDA,
ex rel WILLARD REVELS,

Plaintiffs,
Vv.
HCA HEALTHCARE, INC.,
PUTNAM COMMUNITY MEDICAL
CENTER OF NORTH FLORIDA, LLC,

PARALLON BUSINESS SOLUTIONS,
LLC, and LIFEPOINT HEALTH, INC.,

Defendants.

 

Civil Action No. 3 N9Cy - B99 - FQVUKK,

FILED IN CAMERA AND
UNDER SEAL PURSUANT TO
31 U.S.C. 3730(B)(2), FEDERAL
FALSE CLAIMS ACT

JURY TRIAL DEMANDED

[DO NOT PLACE ON PACER]

QUI TAM COMPLAINT AND JURY DEMAND

Willard Revels (the “Relator’”) brings this action on behalf of the United States of

America and the State of Florida against Defendants, HCA Healthcare, Inc., Putnam

Community Medical Center of North Florida, LLC, Parallon Business Solutions, LLC, and

LifePoint Health, Inc., pursuant to the qui tam provisions of the Federal False Claims Act, 31

U.S.C. 3729 et seq., and the qui tam provisions of the Florida False Claims Act, Fla. Stat.

68.081 et seq. Relator also brings an independent claim against Defendants, HCA Healthcare,

Inc. and Putnam Community Medical Center of North Florida, LLC, in his personal capacity

for unlawful retaliation under the Federal False Claims Act.
Case 3:19-cv-00834-T&®-JRK Document1 Filed 07/16/19—\Page 2 of 64 PagelD 2

I. INTRODUCTION
1. This is an action seeking to recover damages and civil penalties brought by
Relator on behalf of the United States of America and the State of Florida flowing from the
sustained and uninterrupted fraudulent course of conduct of the Defendants in:

a. causing the submission of false or fraudulent claims to the United
States of America and the State of Florida;

b. making, using, or causing to be made or used, false records or
statements material to false or fraudulent claims to the United States of
America and the State of Florida; and
c. knowingly concealing or knowingly and improperly avoiding or
decreasing obligations to pay or transmit money or property to the
United States of America and the State of Florida.
Such fraudulent course of conduct occurred over at least a 10-year period as shall be set forth
specifically herein, and upon information and belief, continues to date relative to the diagnostic
respiratory testing services taking place at Putnam Community Medical Center (““PCMC”) in
Palatka, Florida. Relator also brings an independent claim against Defendants, HCA
Healthcare, Inc. and Putnam Community Medical Center of North Florida, LLC, in his
personal capacity for unlawful retaliation under the Federal False Claims Act.
2. This action is predicated upon Defendants’ actions and omissions in knowingly
submitting ineligible billings to, and failing to self-report and timely reimburse -- or
reimburse at all -- millions of dollars unlawfully collected from the following government-

funded programs:

a. The federally funded Medicare Program, Title XVIII of the Social
Security Act, 42 U.S.C. 1395 et seq.;

b. The federally and state-funded Medicaid Program, Title XIX of the
Social Security Act, 42 U.S.C. 1396 et seq.;
Case 3:19-cv-00834-T4®-JRK Document1 Filed 07/16/19mPage 3 of 64 PagelD 3

Tricare - a federally funded program of the US Department of Defense,
the provides medical benefits to the spouses and unmarried children of
service members and reservists ordered to active duty for 30 days or
longer, the unmarried spouses and children of deceased service
members, and retired service members. 10 U.S.C. s.1071 et seq.; 32
C.F.R. 199.1, et seq;

ChampVA - is a federally funded program that furnishes medical
benefits to spouses and children of deceased or permanently disabled
veterans;

Veteran’s Choice — is a federally funded program that offers medical
benefits to eligible veterans choosing to receive care at a community
provider rather than a VA facility; and

Federal Railroad Retirement - is a federally funded program that offers
medical benefits to eligible retired railroad employees and their family
members.

(collectively, the “Federal Health Care Programs”’)

3. The Federal Health Care Programs have paid millions of dollars in taxpayer

funds over a ten-year period for:

a.

medically unnecessary and unreasonable diagnostic sleep lab tests
administered to patients;

medically unnecessary and unreasonable diagnostic respiratory tests
administered to patients;

medically unnecessary and unreasonable physician services rendered
as the direct consequence of the above-referenced diagnostic sleep lab
and respiratory tests; and

medically unnecessary and unreasonable durable medical equipment
supplied to patients as the direct consequence of the above-referenced
diagnostic sleep lab and respiratory tests

at and/or in affiliation with PCMC.

4, The claims and billings at issue in this action are false or fraudulent because:

a.

Defendants submitted claims and billings by incorporating references
to specific codes without ever having satisfied the physician
supervision standard required by those codes to justify payment; and
Case 3:19-cv-00834-T#4@-JRK Document1 Filed 07/16/19mPage 4 of 64 PagelD 4

b. Defendants submitted claims and billings by incorporating references
to specific codes without ever having satisfied the supervising
physician record-keeping requirement established by those codes to
justify payment.

In short, Defendants unlawfully billed the Federal Health Care Programs for professional
services that were not supported by the necessary physician work or documentation.
5. As shall be detailed herein, Defendants submitted claims for these codes in
contravention of the Federal Health Care Programs’ coding requirements, and knowingly
sought payment for services ineligible for such payment.
Il. PUTNAM COMMUNITY MEDICAL CENTER (“PCMC”)
6. PCMC is a 99-bed acute care facility owned and operated by HCA Healthcare,
Inc. (“HCA”), the largest hospital network in the United States.
7. At all times material to this Complaint, virtually all the patients receiving health
care services at PCMC were eligible to receive benefits under the Federal Health Care
Programs.
8. At all times material to this Complaint, PCMC was operated as a certified
medical provider under Medicare and Medicaid, and thereby eligible to bill each of the Federal
Health Care Programs for the diagnostic testing services at issue in this action.
9. At all times material to this complaint, PCMC conducted polysomnographic
diagnostic sleep tests (“PSG tests”) on patients suffering from sleep disorders such as

obstructive sleep apnea, a potentially fatal condition where the patient stops breathing for

extended periods of time while asleep.'

 

' The Mayo Clinic advises that obstructive sleep apnea can lead to a multitude of serious health problems, including
stroke, high blood pressure, heart disease and sudden death:

Sudden drops in blood oxygen levels that occur during obstructive sleep apnea increase blood pressure
and strain the cardiovascular system. Many people with obstructive sleep apnea develop high blood

4
Case 3:19-cv-00834-Tae-JRK Document1 Filed 07/16/19m.Page 5 of 64 PagelD 5

10. A PSG test is used to diagnose obstructive sleep apnea, as well as other sleep
disorders, and involves overnight patient stays at PCMC’s sleep lab facility (the “Sleep Lab”).
For the PSG tests, the patient is hooked up with approximately 30 leads which are used to
monitor, among other things, the patient’s heart rate, breathing and body movement during
sleep.

11. —_ Results of the PSG tests are then scored by appropriately credentialed sleep
technicians and then the raw data and Technical Reports are interpreted by the sleep medicine
physician. The Technical Reports and Sleep Medicine Physician's Interpretation Report would
be reviewed by the patient’s treating physician. If the patient achieves a certain score, the
physician prescribes a follow-up CPAP (“continuous positive airway pressure’) titration study
(“CPAP study” or “CPAP test”) and the durable medical equipment (a CPAP or BiPAP
machine) deemed “medically reasonable and necessary” to treat the sleep disorder.27, CPAP
and BiPAP (“bilevel positive airway pressure”) machines are medical devices used to keep a

patient’s airway open during sleep to promote unobstructed breathing.’

 

pressure (hypertension), which can increase the risk of heart disease. The more severe the obstructive
sleep apnea. the greater the risk of coronary artery disease, heart attack, heart failure and stroke.
Obstructive sleep apnea increases the risk of abnormal heart rhythms (arrhythmias). These abnormal

rhythms can lower blood pressure. If there’s underlying heart disease, these repeated multiple episodes

of arrhythmias could lead to sudden death.

https://www.mayoclinic.org/diseases-conditions/obstructive-sleep-apnea/symptoms-causes/syc-20352090

     

The Division of Sleep Medicine at Harvard Medical School echoes these same concerns and observed that former
NFL Hall of Fame defensive end Reggie White “died of cardiac and pulmonary problems [at age 43] that were

likely intensified by his sleep apnea.”

http://healthysleep.med.harvard.edu/sleep-apnea/living-with-osa/health-consequences#

2 Medicare coverage is limited to those items and services deemed reasonable and necessary for the diagnosis or

treatment of an illness or injury (and within the scope of a Medicare benefit category).

3 All references to CPAP machines hereinafter shall be deemed to include BiPAP machines. The Centers for
Medicare & Medicaid Services (“CMS”) broadly defines a CPAP device as follows: "a machine that introduces

air into the breathing passages at pressures high enough to overcome obstructions in the airway in order to improve
airflow.” 42 C.F.R. 424.57(a). That definition is broad enough to accurately describe BiPAP devices.

5
Case 3:19-cv-00834-Ta@-JRK Document1 Filed 07/16/19mPage 6 of 64 PagelD 6

12. Since at least 2009 and continuing through and until at least March 1, 2019 (the
“Fraudulent Billing Period”), Defendants, LifePoint Health, Inc. (“LifePoint’”), HCA, Putnam
Community Medical Center of North Florida, LLC, and Parallon Business Solutions, LLC
(“Parallon”), collectively submitted false or fraudulent bills to the Federal Health Care
Programs for diagnostic PSG tests and respiratory tests* that failed per se to meet threshold
eligibility standards.

13. Throughout the Fraudulent Billing Period, it was well known by each of the
Defendants that providers could bill Medicare only for those sleep tests and respiratory tests
performed that were both “reasonable and necessary,” and that a diagnostic PSG sleep and/or
respiratory test qualified as “reasonable and necessary” under 42 C.F.R. 410.32 if — and only
if — performed by nonphysician personnel who were under general physician supervision
and control.”

14. Although the physical presence of a properly credentialed physician was not
required while each diagnostic test was being administered, “general supervision” expressly
mandated that a properly credentialed physician be responsible for the “overall direction and
control” of the sleep and respiratory testing taking place at PCMC throughout the Fraudulent
Billing Period. And, at a minimum, such “overall direction and control” required that the
physician: (1) furnish ongoing training of all nonphysician personnel actually performing the

PSG sleep and respiratory tests, and (2) provide ongoing maintenance reviews of the necessary

 

4 Throughout the Fraudulent Billing Period, the respiratory tests consisted of electrocardiograms (EKGs),
electroencephalograms (EEGs), pulmonary functions tests (PFTs) and pulse oximetry tests.

> Indeed, 42 C.F.R. 410.32(b)(1) unambiguously declares that “[s]ervices furnished without the required level of

supervision are not reasonable and necessary” (emphasis added).

6
Case 3:19-cv-00834-T&®-JRK Document1 Filed 07/16/19m,Page 7 of 64 PagelD 7

equipment and supplies utilized by the nonphysician personnel in performing those tests. 42
C.F.R. 410.32(b)(3)(i).

15. At no time during the Fraudulent Billing Period did a properly credentialed
physician — or, indeed, any physician at all — provide ongoing training of the non-physician
personnel performing the various diagnostic sleep and respiratory tests at issue in this action.

16. Furthermore, at no time during the Fraudulent Billing Period did a properly
credentialed physician — or any physician at all — provide ongoing maintenance reviews of the
necessary equipment and supplies utilized by the nonphysician personnel in performing those
diagnostic sleep and respiratory tests.

17. 42 C.F.R. 410.32(d)(2)-(4) further requires that accurate records reflecting
compliance with the “reasonable and necessary” standards governing the diagnostic sleep and
respiratory tests at issue in this action be maintained.

18. | Atno time during the Fraudulent Billing Period were accurate records reflecting
compliance with such “reasonable and necessary” standards maintained.

19. As the direct and clearly foreseeable consequence of such noncompliance with
these regulatory requirements, Defendants, LifePoint, HCA and Putnam Community Medical
Center of North Florida, LLC knowingly caused physicians with privileges at PCMC to falsely
or fraudulently bill the Federal Health Care Programs for services rendered in reviewing the
noncompliant sleep and respiratory tests. Additionally, those same physicians frequently also
prescribed CPAP machines for their patients to utilize while sleeping at home, which caused
further false or fraudulent billings of the Federal Health Care Programs for the CPAP machines

and associated supplies furnished by third-party vendors.
Case 3:19-cv-00834-T4@-JRK Document1 Filed 07/16/12mPage 8 of 64 PagelD 8

20. The actual damages inflicted upon the United States of America and the State
of Florida by Defendants as the proximate consequence of their fraudulent billing of the

Federal Health Care Programs exceed several million dollars, as will be explained more fully

hereinafter.
TW. JURISDICTION AND VENUE
21. This Court has jurisdiction over the subject matter of this action pursuant to 31

U.S.C. 3732(a), 28 U.S.C. 1331, and 28 U.S.C. 1345.

22. This Court also has original jurisdiction of the Florida False Claims Act counts
pursuant to 31 U.S.C. 3732(b), as those counts are brought under Florida law to recover funds
paid by the State of Florida and arise from the same transactions or occurrences providing the
basis for the Federal False Claim Act counts brought under 31 U.S.C. 3730.

23. This Court also has supplemental jurisdiction of the Florida False Claims Act
counts pursuant to 28 U.S.C. 1367.

24. — This Court has personal jurisdiction over the Defendants pursuant to 28 U.S.C,
3732(a) as each is found in and transacts substantial business in the Middle District of Florida.

25. Venue is proper in this District pursuant to 31 U.S.C. 3732(a) as each of the
Defendants can either be found in, resides in or transacts business in in the Middle District of
Florida, the violations of law under the Federal False Claim Act and the Florida False Claims
Act occurred within this District.

26. The claims asserted in this Complaint by Relator are not based upon allegations
or transactions that are the subject of a civil suit or an administrative civil money penalty

proceeding in which the United States of America is a party. See 31 U.S.C. 3730(e)(3).
Case 3:19-cv-00834-T4e-JRK Document1 Filed 07/16/19m,Page 9 of 64 PagelID 9

27. Relator shall make voluntary disclosures to the United States of America
contemporaneous with the service of this Complaint and shall serve a Disclosure Statement
upon the United States of America as required by 31 U.S.C. 3739(b)(2). A copy of this
Complaint and a similar Disclosure Statement shall be served upon the State of Florida.

IV. PARTIES
A. Plaintiffs

28. The United States of America is a Plaintiff to this action on behalf of the
Department of Health and Human Services (“HHS”), the Centers for Medicare & Medicaid
Services (“CMS”), and the Federal Health Care Programs.

29. | Medicare is a government health insurance program for those 65 years or older,
and for those with certain disabilities. 42 U.S.C. 426, 426A. Medicare is administered by
CMS, which is part of HHS. CMS contracts with private entities who serve as its agents in
analyzing and paying claims submitted by healthcare providers. Each such contracted private
entity is referred to as a Medicare Administrative Contractor (or “MAC”). See 42 U.S.C.
s.1395h; 42 C.F.R 421.3, 421.100.

30. Throughout the Fraudulent Billing Period, the MAC to whom the Defendants
submitted the false or fraudulent billings at issue in this action was Wisconsin Physician
Services (“WPS”).

31. Medicare payment is contingent upon a determination that a service meets a
benefit category, is not specifically excluded from coverage, and the item or service is
‘reasonable and necessary.”’ 42 U.S.C. 1395y states that, subject to certain limited exceptions,

no payment may be made for any expenses incurred for items or services that are not
Case 3:19-cv-00834-TJ€,JRK Document 1 Filed 07/16/19 »Page 10 of 64 PagelD 10

‘‘reasonable and necessary’’ for the diagnosis and treatment of illness or injury or to improve
the functioning of a malformed body member.

32. The Medicare statute itself does not set forth a comprehensive list of specific
items or services eligible for coverage as ‘‘reasonable and necessary.’’ The approach adopted
by Congress was to identify categories of items and services, but vest authority in the HHS
Secretary to determine the specific items and services within such categories to be covered. In
other words, the statute generally authorizes Medicare to cover medical devices, surgical
procedures and diagnostic services, but does not identify each specific covered (or excluded)
item or service. Those specific determinations are made by CMS in the form of national
coverage determinations (“NCDs”) or, in the absence of an NCD, by the MACs in the form of
local coverage determinations (“LCDs”). See CMS-3062-N.

33. | NCDs are generated via an evidence-based process, with opportunities for
public notice and input. In the absence of an NCD on point, an item or service may be covered
at the discretion of the MACs in accordance with a relevant LCD promulgated by them. See
CMS-3062-N. Akin to the procedure leading to the creation of NCDs, MACs issue LCDs via
an evidence-based process, with opportunities for public notice and input.

34. Inorder to participate in the Medicare program as a provider of medical or other

health services, or as a supplier of durable medical equipment, providers® are required to

 

® CMS defines the term “provider” generally as:

Any Medicare provider (e.g., hospital, skilled nursing facility, home health agency, outpatient physical therapy,
comprehensive outpatient rehabilitation facility, end-stage renal disease facility, hospice, physician, non-
physician provider, laboratory, supplier, etc.) providing medical services covered under Medicare Part B. Any
organization, institution, or individual that provides health care services to Medicare beneficiaries. Physicians,
ambulatory surgical centers, and outpatient clinics are some of the providers of services covered under Medicare
Part B.

https://www.cms.gov/apps/slossary/default.asp?Letter=P& Language=English
10
Case 3:19-cv-00834-TJIQ.JRK Document 1 Filed 07/16/19 Jpage 11 of 64 PagelD 11

execute and submit an enrollment application to CMS. The application requires that each
provider affirmatively certify that it will honor all applicable Medicare laws, regulations and
program instructions, and clearly discloses that payment of a claim by Medicare is conditioned
upon the claim’s compliance with all such laws, regulations and program instructions.

35. For outpatient treatment, all Medicare reimbursement is subject to Part B. See
42 U.S.C. 1395j-1395w-4. All the diagnostic sleep and respiratory tests at issue in this action
are included in the definition of “medical and other health services” for purposes of Medicare
Part B coverage. See 42 C.F.R. 410.1 0(e).

36. The Medicaid program, 42 U.S.C. 1396 et seq., is a government health
insurance program funded jointly by the federal and state governments. Each state administers
its own Medicaid program, but remains subject to, and governed by, all applicable federal
statutes, regulations and guidelines.

37. Medicaid provides secondary insurance coverage for many recipients of
Medicare, and often pays, in whole or in part, the premium for Medicare Part B.

38. In order to participate in the Medicaid program as a provider of medical or other
health services, the provider must execute and submit an agreement affirmatively certifying
that the provider will comply with all local, state and federal laws, as well as rules, regulations
and statements of policy issued relative to the Medicaid program.

39. Throughout the Fraudulent Billing Period, Defendants submitted false or
fraudulent claims to Medicare, Medicaid and other Federal Health Care Programs for
diagnostic testing services and medical equipment that they knew, or should have known, were
ineligible for payment in violation of the Medicare and Medicaid provider certifications they

had made.

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Case 3:19-cv-00834-TJC-JRK Document 1 Filed 07/16/19 {Page 12 of 64 PagelD 12

40. Specifically, throughout the Fraudulent Billing Period, Defendants submitted
thousands of billing claims to Medicare, Medicaid and other Federal Health Care Programs
utilizing a form promulgated by CMS known as Form 1500. These Form 1500s contained
different numbered fields that the provider must complete, including the patient’s name,
address, insurance identification number, referring physician’s name, and patient’s diagnosis.
These Form 1500s also required the service provider to identify all Current Procedural
Technology (“CPT”) codes for each discrete medical service provided, the dates and locations
of the medical services that were rendered, the specific charges claimed for each such service,
and the provider's NPI number. Throughout the Fraudulent Billing Period, these Forms 1500s
were then submitted by the provider, either directly or through its chosen billing agent,
electronically to the MAC for review, processing and payment authorization.

41. Throughout the Fraudulent Billing Period, each Form 1500 that was submitted,
or caused to be submitted, by Defendants to Medicare, Medicaid and other Federal Health Care
Programs affirmatively represented as follows:

In submitting this claim for payment from federal funds, I certify that: 1) the
information on this form is true, accurate and complete; 2) I have familiarized
myself with all applicable laws, regulations, and program instructions, which
are available from the Medicare contractor; 3) I have provided or will
provide sufficient information required to allow the government to make an
informed eligibility and payment decision; 4) this claim, whether submitted by
me or on my behalf by my designated billing company, complies with all
applicable Medicare and/or Medicaid laws, regulations, and program
instructions for payment...; 5) the services on this form were medically
necessary and personally furnished by me or were furnished incident to my
professional service by my employee under my direct supervision....

42. Each Form 1500 also clearly conveyed to the Defendants before submission of

each claim that:

No Part B Medicare benefits may be paid unless this form is received as
required by existing law and regulations (42 CFR 424.32).

12
Case 3:19-cv-00834-TIG-JRK Document 1 Filed 07/16/19 ,page 13 of 64 PagelD 13

NOTICE: Anyone who misrepresents or falsifies essential information to
receive payment from Federal funds requested by this form may upon
conviction be subject to fine and imprisonment under applicable Federal
laws.

43. Throughout the Fraudulent Billing Period, each of the Defendants was
intimately familiar with these mandatory, fundamental notices and certifications. Indeed, in
many of their public filings with the SEC, both HCA and LifePoint have emphasized the
serious liabilities attendant the submission of ineligible claims to the Federal Health Care
Programs.

44. The Medicare Provider Agreements executed by the Defendants reinforced this
bedrock necessity for accurate, compliant billing and required Defendants to conform with all
applicable federal laws, rules and regulations, including all Medicare laws, regulations,
reporting requirements, and CMS instructions. Those Provider Agreements further made
unmistakably clear that:

a. services rendered by nonphysician providers were eligible for reimbursement
only if those nonphysician providers were supervised by an appropriately
credentialed physician; and

b. payments to Defendants for provider services were being made, in whole or in
part, from federal funds, and subjected Defendants to all laws applicable to

individuals or entities receiving federal funds, including the False Claims
Act.’

 

? Those Provider Agreements also required the Defendant providers to maintain a compliance plan that included
measures to detect, correct and prevent fraud; written policies, procedures and standards of conduct detailing the
provider's commitment to comply with all applicable federal standards; the designation of a compliance officer
and compliance committee responsible for high level oversight of provider’s compliance plan; effective training
and education for providers’ compliance officer and employees, governing body members, and agents;
enforcement of standards through well-publicized disciplinary action; procedures for effective, routine internal
monitoring and auditing; and procedures for ensuring prompt responses to detected offenses and development of
corrective action initiatives related to any evidence of fraud and misconduct. Additionally, the Provider
Agreements required that, within 5 business days of becoming aware of an actual, suspected or potential
compliance or fraud concern, Defendant providers were to report such compliance or fraud concern to WPS. As
shall be shown in further detail herein, that reporting never happened.

The executed Provider Agreements are in the possession, custody and/or contro! of Defendants, HCA, LifePoint,
Putnam Community Medical Center of North Florida, LLC, and Parallon, and will have to be produced during or

13
Case 3:19-cv-00834-TJG,JRK Document1 Filed 07/16/19 ~Page 14 of 64 PagelD 14

45. Throughout the Fraudulent Billing Period, Defendants submitted false or
fraudulent claims to Medicare, Medicaid and other Federal Health Care Programs for
diagnostic PSG and respiratory testing services that they knew, or clearly should have known,
were per se ineligible for payment, and in direct violation of the Medicare and Medicaid
provider certifications they had made in each Form 1500 they submitted during that
timeframe.®

46. The State of Florida is a Plaintiff in this action. Throughout the Fraudulent
Billing Period, Defendants submitted false or fraudulent claims to Florida Medicaid for
services and equipment that were ineligible for payment.

47. Relator, Willard Revels, was employed as a polysomnography technologist at
PCMC from December 2013 through May 2015, at which time he was promoted by PCMC to
Manager of the Sleep Lab. Relator served as the Manager of the Sleep Lab through March 1,
2019, the date his employment was terminated as the result of an alleged reshuffling of HCA

“business priorities” that abruptly ended all Sleep Lab services performed at PCMC. Relator

is currently employed as a registered polysomnography technologist (“RPSGT”) in Oklahoma.

 

discovery. However, those Provider Agreements should currently be in the possession, custody and/or control of
the United States of America and the State of Florida.

® It bears underscoring that Defendants HCA, LifePoint and Parallon were — and continue to be — highly
experienced, well-financed, sophisticated and successful businesses active in, and intimately familiar with, the
field of Medicare and Medicaid billing and payment regulation. Moreover, at all times material to this Complaint,
CMS offered — and continues to offer — comprehensive outreach and education resources to hospitals and their
agents via its Medicare Learning Network (“MLN”) should any needs for clarification arise:

https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-MLN/MLNGenInfo/Index.html

Significantly, each of the Provider Agreements also affirmatively obligated the Defendant providers to complete
the fraud, waste and abuse, and general compliance training modules available at the MLN, and to maintain their
respective compliance training records for a period of 10 years.

14
Case 3:19-cv-00834-TJGJRK Document 1 Filed 07/16/19 age 15 of 64 PagelD 15

48.

The factual allegations in this Complaint that form the predicate for the False

Claim Act liability of each of the Defendants are based upon information Relator personally

discovered as the consequence of:

a.

b.

g.

49.

his pre-employment consultations with LifePoint in May-June 2013;

his subsequent employment at PCMC from December 2013 through March 1,
2019;

his many conversations and email exchanges with his superiors at PCMC
from December 2013 through March 1, 2019;

his many conversations and email exchanges with PCMC patients (and
prospective patients) from December 2013 through March 1, 2019;

his many conversations and email exchanges with PCMC’s billing department
staff from December 2013 through March 1, 2019;

his conversations and email exchanges with representatives of CMS, WPS,
and sleep medicine authorities and accreditation entities; and

his personal efforts, observations, research and investigation.

From December 2013 through March 1, 2019, Relator was personally familiar

with the false or fraudulent billing policies, practices and actions of the Defendants as alleged

herein. He would regularly interact with the PCMC billing department employees in

explaining/clarifying appropriate service codes to be used in submitting claims for payment to

Medicare, Medicaid and other Federal Health Care Programs; investigating patient concerns

when Medicare, Medicaid and other Federal Health Care Programs refused to pay for certain

sleep lab services billed; and communicated frquently with Utilization Review personnel from

insurers such as Blue Cross, United Healthcare, Humana (and others) regarding authorization

approvals for sleep testing for patients with Medicare and Medicaid plans which were

administered by those private companies. These interactions occurred on almost a daily basis

and the majority were prompted by inquiries received by Relator from PCMC billing

15
Case 3:19-cv-00834-TJG-JRK Document1 Filed 07/16/19 ehage 16 of 64 PagelD 16

department agents whose primary job function was to complete the Form 1500s for the billing
of Medicare, Medicaid and other Federal Health Care Programs.

50. Relator was also personally aware of Defendants’ actual submissions of false
or fraudulent billings to Medicare, Medicaid and other Federal Health Care Programs because
he periodically was informed by his superiors of the sums paid by Medicare, Medicaid and
Federal Health Care Programs to PCMC for the diagnostic testing the Sleep Lab had
performed.?

51. Relator also regularly was directed by his superiors at PCMC to increase the
number of patients tested -- and Medicare, Medicaid and other Federal Health Care Program
billings generated -- by the Sleep Lab facilities he managed.

52. | From December 2013 through March 1, 2019, virtually all the patients Relator
and PCMC technicians administered PSG and respiratory tests to — in excess of 90% — were
insured under Medicare, Medicaid and other Federal Health Care Programs.'® Indeed, an
important part of the Sleep Lab’s responsibilities was confirming each patient’s insurance
coverage in advance of testing; if patients were referred by their physicians to PCMC for Sleep

Lab diagnostic testing, one of the threshold responsibilities Relator (and his staff) had was to

 

° Additionally, PCMC was required by HCA to compile annual reports documenting the financial performance
of each discrete department and sub-department within the hospital, and David Hartzell, Relator’s Director of
Cardiopulmonary Services, shared with him a portion of one such report showing that the Sleep Lab had increased
year-over-year profits by 25% in 2016 vs. 2015, and had increased year-over-year revenues by 40% during that
same timeframe. As over 90% of the patients served by Relator and other staff members of the Sleep Lab were
beneficiaries of Medicare, Medicaid and other Federal Health Care Programs, the lion’s share of PCMC revenues
derived from the performance of sleep lab diagnostic services was paid by Medicare, Medicaid, and other Federal
Health Care Programs.

'° Given the demographics of the greater Palatka, Florida area during July 2009-December 2013, it is reasonable

to presume that this 90%+ figure likewise governed that timeframe as well, and it is anticipated that discovery in
this action will bear this out.

16
Case 3:19-cv-00834-TJIGJRK Document 1 Filed 07/16/19 age 17 of 64 PagelD 17

make contact with the patient to confirm his or her specific insurance coverage and co-pay
obligation in advance of performing any services. !!

53. Relator is the original source of the facts set forth in this Complaint that give
rise to the legal claims asserted herein. Such legal claims are not reliant upon publicly disclosed
information.

B. Defendants

54. Defendant, HCA Healthcare, Inc. (“HCA”), is a publicly traded company
(ticker symbol: HCA) headquartered in Nashville, Tennessee. It is the largest private, for-profit
healthcare services organization in the United States. As per its most recent Form 10-K filed
with the U.S. Securities and Exchange Commission, as of December 31, 2018, HCA owned
and operated 175 general, acute care hospital facilities, including PCMC.'* As of June 10
2019, HCA’s website declares that HCA “owns and operates 185 hospitals and approximately
1,800 sites of care, including surgery centers, freestanding emergency rooms, urgent care
centers, and physician clinics in 21 states and the United Kingdom.”!?

55. | HCA, together with several of its affiliated entities, has an amply documented

history of submitting false or fraudulent claims to the Government, which history has resulted

in the imposition of billions of dollars in fines, sanctions and civil damages to date.

 

"| Occasionally, patients for whom PSG testing had been scheduled contacted Relator and his staff members to
cancel their appointments because they had decided they simply couldn't afford to pay the copayments required
of them under Medicare, Medicaid, and other Federal Health Care Programs.

"2 https://www.sec zov/Archives/edgar/data/860730/000 1193 12519047078/d676301d10k.htm at p. 3. Prior to
May 8, 2017, HCA was incorporated and known as HCA Holdings, Inc.

3 https://investor.hcahealthcare.com/corporate_profile

17
Case 3:19-cv-00834-TJG-JRK Document 1 Filed 07/16/19 age 18 of 64 PagelD 18

56. As part of the settlement of one False Claims Act criminal prosecution, HCA
agreed in December 2000 to plead guilty to criminal conduct and pay over $840,000,000.00 in
criminal fines, civil penalties and damages for alleged unlawful billing practices.'4

57. In 2002, another False Claim Act prosecution resulted in HCA’s payment of
over $2,000,000,000.00 in settlement, and other False Claim Act prosecutions resulted in
multimillion-dollar settlements in 2012, 2013, 2015 and 2017.'°

58. Defendant, Putnam Community Medical Center of North Florida, LLC, was
formed as a Florida limited liability company in January 2015 and holds license number 4350
to operate PCMC as a “statutory rural hospital.” The sole managers of the LLC disclosed in
the filings on record with the State of Florida are all insiders, officers and/or directors of HCA
located in Nashville, Tennessee. Upon information and belief, ownership and control of
Putnam Community Medical Center of North Florida, LLC -- and specifically, PCMC
operations -- ultimately reside with HCA. Indeed, inter alia, HCA:

a, accounts for the revenues and profits generated at its affiliate hospitals,
including PCMC, as part of its publicly reported revenues and profits;

b. recruits, trains, places, reviews and promotes executives at its affiliate
hospitals, including PCMC;

Cc. publicizes and promotes its affiliate hospitals, including PCMC, as HCA; and
d. requires each of the HCA affiliate hospitals, including, PCMC, to honor and

abide by comprehensive, detailed policies and procedures promulgated by
HCA.

 

4 https://www. justice.gov/archive/opa/pr/2000/December/696civerm.htm

5 See, e.g., https://www.justice.gov/opa/pr/hospital-chain-hca-inc-pays-165-million-settle-false-claims-act-
allegations-regarding

https://slphealthcareupdate.com/tag/overbillng/
https://www.lexology.com/library/detail.aspx?2=7c4399a6-9f3e-44c5-80 1a-3 14e80a32 Idec

https://whistleblowerjustice.net/nations-largest-healthcare-fraud-settlement-doesnt-stop-medical-behemoth/
18
Case 3:19-cv-00834-TJG,JRK Document 1 Filed 07/16/19 JPage 19 of 64 PagelD 19

59. Defendant, Parallon Business Solutions, LLC (“Parallon’”), is a limited liability
company organized, formed, and transacting business in Tennessee. The sole managers of the
LLC disclosed in the filings on record with the State of Florida are all insiders, officers and/or
directors of HCA located in Nashville, Tennessee. Upon information and belief, ownership
and control of Parallon operations ultimately reside with HCA.

60. __ Parallon is registered to do business in the State of Florida as a foreign limited
liability company and has been since its creation in May 2011. Irrespective of whether it is
ultimately shown that ownership and control of Parallon operations ultimately reside with
HCA, Parallon was appointed by HCA and its affiliate hospitals, including PCMC, as their
agent in preparing bills, submitting claims for payment and collecting payment for the
healthcare services provided at HCA hospitals across the nation, including PCMC. Atall times
material to this Complaint, Parallon staff members were referred to by PCMC’s Executive
Administration as the hospital’s “Patient Accounts Department.”

61. On or about the date of HCA’s acquisition of PCMC from LifePoint, Parallon
reviewed, generated, audited, processed and submitted the false or fraudulent billings to
Medicare, Medicaid and other Federal Health Care Programs on behalf of PCMC.

62. On or about the date of HCA’s acquisition of PCMC from LifePoint, Parallon
served and acted as the authorized agent of HCA and Putnam Community Medical Center of
North Florida, LLC, in reviewing, generating, auditing, processing and submitting the false or
fraudulent billings to Medicare, Medicaid and other Federal Health Care Programs on behalf
of PCMC.

63. Parallon is jointly and severally liable with HCA and Putnam Community

Medical Center of North Florida, LLC for creating, causing to be created, submitting and/or

19
Case 3:19-cv-00834-TJIG-JRK Document 1 Filed 07/16/19 age 20 of 64 PagelD 20

causing to be submitted the false or fraudulent billings to Medicare, Medicaid and other Federal
Health Care Programs on behalf of PCMC that are the subject of this action. 64.

Parallon also is jointly and severally liable with HCA and Putnam Community Medical
Center of North Florida, LLC for failing to report and/or return to the Government the falsely
or fraudulently billed payments made under Medicare, Medicaid and other Federal Health Care
Programs.

65. Defendant, LifePoint Health, Inc. (“LifePoint’”), is a Delaware corporation
headquartered in Brentwood, Tennessee. It is currently privately owned but had been a publicly
traded company (ticker symbol: LPNT) through November 2018. As per its last Form 10-K
filed with the U.S. Securities and Exchange Commission in February 2018, as of December
31, 2017, LifePoint owned and operated 71 hospital facilities in 22 states, and generated over
$6,200,000,000.00 in annual revenue in each of its 2017 and 2016 fiscal years, and over
$5,200,000,000.00 in annual revenue in 2015.'°

66.  LifePoint owned and operated PCMC as Putnam Community Medical Center,
LLC until PCMC was sold to HCA in 2015 for $18,800,000.!”

67. |The Medicare provider number utilized by PCMC for claims submission and
billing purposes while owned and operated by LifePoint remained the same and continued to
be utilized for claims submission and billing purposes after PCMC was acquired by HCA.

68. Medicare patients continued to be treated at PCMC, without interruption,

subsequent to the ownership transfer from LifePoint to HCA.

 

16

https://www.sec.gov/Archives/edgar/data/1301611/000130161118000005/Ipnt-20171231x10k.htm at p. I.
Prior to April 12, 2015, when it changed its name, LifePoint was known as LifePoint Hospitals, Inc. References

to LifePoint hereafter shall be deemed to include LifePoint Hospitals, Inc. as well.

17

https://www.sec.gov/Archives/edgar/data/1301611/000095014406000856/299 1 26e10vk.htm at p. F-23.

20
Case 3:19-cv-00834-TJIG-JIRK Document 1 Filed 07/16/19 ae age 21 of 64 PagelD 21

69. Under the facts alleged in paragraphs 67 and 68, and in accordance with
governing law, HCA and Putnam Community Medical Center of North Florida, LLC are
jointly and severally liable with LifePoint for the false or fraudulent billings to Medicare,
Medicaid and other Federal Health Care Programs on behalf of PCMC — and LifePoint’s failure
to report and return the revenues received as a direct consequence of those false or fraudulent
billings — that took place prior to PCMC’s 2015 change in ownership.

V. THE FALSE AND FRAUDULENT BILLING OF MEDICARE, MEDICAID
AND OTHER FEDERAL HEALTH CARE PROGRAMS

A. The Importance of Diagnostic Sleep Testing

70. The American Academy of Sleep Medicine (the “AASM”)!® identifies
categories of sleep disorders that collectively afflict millions of Americans. Some of the most
common such disorder categories are insomnia, narcolepsy/excessive daytime sleepiness,
restless legs syndrome, REM behavioral disorders, and obstructive sleep apnea.

71. | Obstructive sleep apnea occurs when a patient’s airways collapse during sleep,
thereby causing an obstruction and preventing the patient from being able to push adequate air
past that obstruction.

72. Certain illnesses (or “comorbidities”) are caused or exacerbated by obstructive
sleep apnea. The most common comorbidities are high blood pressure (which can trigger a

stroke), heart disease and Type II diabetes.

 

'8 Throughout the Fraudulent Billing Period, AASM has partnered with HHS and the Department of Justice in
preventing and combatting fraud in the sleep medicine provider space. See, e.g., https://aasm.org/hhs-and-doj-
form-new-fraud-team/

21
Case 3:19-cv-00834-TJfmJRK Document1 Filed 07/16/19 ,j@m@age 22 of 64 PagelID 22

73. The most common diagnostic tool utilized for the diagnosis of sleep disorders
is polysomnographic diagnostic sleep testing (the “PSG test”). The PSG test is a
comprehensive recording of the biophysiological changes that occur during sleep.

74. Typically, patients are referred to a sleep lab for PSG testing because the
patient’s physician suspects that the patient suffers from obstructive sleep apnea or one of the
other disorders that disrupt sleep. The initial PSG test requires an overnight stay at the sleep
lab. Prior to administering the test, a sleep lab technician connects approximately 30 leads to
the patient in order to evaluate a variety of bodily functions such as heart rhythm, breathing
and body movement.

75. The result produced by the PSG test is referred to as a polysomnogram. The
polysomnogram is scored based on criteria utilizing the Apnea Hypopnea Index (AHI) or the
Respiratory Distress Index (RDI). Under either the AHI or the RDI, the polysomnogram
records the average number of respiratory events — i.e., apneas (the complete cessation of
breathing for 10 or more seconds) and hypopneas (partial obstructions of breathing for 10 or
more seconds) — experienced by the patient per hour of sleep.'?

76. Once the polysomnogram is scored by the Sleep Technologist, the Technical
Report and Raw Data are then reviewed and interpreted by the Sleep Medicine Physician who
renders the diagnosis and dictates his report. The hospital Health Information Management
department then transcribes the dictated report, the patient’s referring physician then reviews

it and decides whether a CPAP titration study and CPAP equipment are reasonable and

 

'? An AHI or RDI score of 5 to 15 events per hour is classified as “mild obstructive sleep apnea,” an AHI or RDI
score of 15 to 30 events per hour is classified as “moderate obstructive sleep apnea,” and an AHI or RDI score
exceeding 30 events per hour is classified as “severe obstructive sleep apnea.” Ifa patient suffers from significant
comorbidities such as high blood pressure or heart disease, then a lower AHI or RDI score can classify the patient
as suffering from “moderate obstructive sleep apnea” or “severe obstructive sleep apnea.”

22
Case 3:19-cv-00834-TJfxJRK Document1 Filed 07/16/19 «Rage 23 of 64 PagelD 23

necessary. CPAP equipment is intended to keep a patient’s airway open during sleep, thus
enabling unobstructed breathing.

77. If prescribed by the physician, the patient subsequently returns to the sleep lab
for the CPAP titration study. This study is similar to the PSG test -- except that it involves the
patient wearing a CPAP device (a mask connected to a machine). During the CPAP titration
study, the sleep lab technologist determines the correct amount of pressure required to
eliminate the patient’s sleep obstruction, together with the appropriate fit and type of mask to
be utilized by the patient. Once these determinations are made, the patient may use the CPAP

device at home.

B. Fraudulent Billing Concerns and Medicare Eligibility Requirements for
Payment of Polysomnography and Respiratory Diagnostic Test Services

78. The United States of America, HHS Office of Inspector General, has identified
fraudulent sleep lab billing practices as a special area of recent investigative interest.

79. In 2013 the OIG published its report entitled Questionable Billing for
Polysomnography Services,’° that determined — in 2011 alone — Medicare had paid almost
$17,000,000.00 for polysomnography services that did not comply with at least one of the
“reasonable and necessary” Medicare requirements.

80. In 2015, the OIG published its report entitled “First Coast Service Options, Inc.
Paid Some Unallowable Sleep Study Claims,”*' which — although limited in its audit scope —

extrapolated that Medicare may have paid almost $16,000,000.00 for polysomnography

 

20 https://oig. hhs.gov/oei/reports/oei-05-12-00340.asp

21 https://oig.hhs.gov/oas/reports/region4/4 1307039.pdf

23
Case 3:19-cv-00834-TJ@JRK Document1 Filed 07/16/19 «Rage 24 of 64 PagelD 24

services that did not comply with at least one of the “reasonable and necessary” Medicare

requirements over a 21 month period.
81. In 2016, the OIG published its report entitled ‘“S/eep Health Center Billed

Medicare for Some Unallowable Sleep Study Services, ”**

which — although again limited in
its audit scope — uncovered significant payments made by Medicare programs for
polysomnography services that failed to comply with at least one of the “reasonable and
necessary” Medicare requirements.

82. In 2016, the OIG also announced commencement of a multi-year investigation
of sleep lab billing practices and publicly conveyed, in clear and unmistakable terms, that
“Medicare will nof pay for items or services that are not "reasonable and necessary’?
(emphasis added).

83. On June 12, 2019, OIG publicly released its report based on that multi-year
investigation, in which it concluded that:

“On the basis of our sample [audit] results, we estimated that Medicare made

overpayments of $269 million for polysomnography services during the [2 year]
audit period.”

(emphasis added)**
84. Additionally. in 2013, the Department of Justice announced that American

Sleep Medicine, LLC of Jacksonville, Florida had agreed to pay $15,301.341.00 to resolve

 

2 https://oig.hhs.gov/oas/reports/region4/4 1407053.pdf

33 https://oig.hhs.gov/reports-and-publications/workplan/summary/wp-summary-0000123.asp

a https://oig.hhs.gov/oas/reports/region4/4 1707069.asp

24
Case 3:19-cv-00834-TJG@eJRK Document1 Filed 07/16/19 «kage 25 of 64 PagelD 25

allegations that it had billed Medicare and other federally funded programs for sleep diagnostic
services that were ineligible for payment.**

85. The DOJ press release announcing the settlement of the charges brought against
American Sleep Medicine. LLC unequivocally declared:

“Medicare patients and military families deserve to be treated by appropriately

credentialed professionals when seeking medical care,” said Stuart F. Delery,

Principal Deputy Assistant Attorney General for the Justice Department’s Civil

Division. “When companies providing those services seek to skirt the rules, there

will be a steep price to pay.”

- (emphasis added).

86. Medicare, Medicaid, and other Federal Healthcare Programs only reimburse for
medically “reasonable and necessary” polysomnography and respiratory testing services. 42
U.S.C. 1395y(a)(1)(A); Fla. Stat. 409.905; TRICARE Policy Manual, 6010.54-M Ch. 11,
s.12.1 UI(C)\(7).

87. For polysomnography and respiratory testing services to be eligible for payment
under Medicare, Medicaid, and other Federal Healthcare Programs as medically “reasonable
and necessary” services, it is mandated that they be performed under an appropriate level of
physician supervision. 42 C.F.R. 410.32(b)(1)**; see also Fla. Stat. 409.905 (“Any service
under this section shall be provided only when medically necessary and in accordance with
state and federal law.”); Fla. Stat. 409.905(4), (6); Fla. Stat. 409.907.

88. Although the physical presence of a properly credentialed physician is not

necessary while these tests are being administered, the “general supervision” standard set forth

 

5 https://www.justice.sov/opa/pr/florida-based-american-sleep-medicine-pay-|53-million-improperly-billing-
medicare-and-other

26 42 C.F.R. at s.410.32(b)(1) plainly states that “[s]ervices furnished without the required level of supervision
are not reasonable and necessary.” (emphasis added)

25
Case 3:19-cv-00834-TJ@*JRK Document1 Filed 07/16/19 «Rage 26 of 64 PageID 26

in 42 C.F.R. 410.32 expressly required a properly credentialed physician to be responsible for
the “overall direction and control” of the sleep and respiratory testing taking place at PCMC
at all times during the Fraudulent Billing Period. At a minimum, such “overall direction and
control” required that the physician: (1) furnish ongoing training of all nonphysician personnel
personally performing the sleep and respiratory tests, and (2) provide ongoing maintenance
reviews of the necessary equipment and supplies utilized by the nonphysician personnel in
performing those tests. 42 C.F.R. 410.32(b)(3)(i).

89. The governing 42 C.F.R. 410.32 standards were well publicized by CMS, and
well known to the Defendants.

90. Indeed, such regulatory standards were first issued back on October 31, 1997;
further, CMS issued a formal Program Memorandum on April 19, 2001 to underscore to
providers the need for physician supervision of diagnostic testing.?’

91. Yet, despite the clarity of these regulatory standards, and the fact that providers
had been given ample advance notice thereof, at no time during the Fraudulent Billing Period
did a properly credentialed physician — or, indeed, any physician at all — provide ongoing
training of the non-physician personnel performing the diagnostic sleep and respiratory testing
taking place at PCMC.

92. Furthermore, at no time during the Fraudulent Billing Period did a properly

credentialed physician — or any physician at all — provide ongoing maintenance reviews of the

 

27 See HHS Program Memorandum B-01-28 (April 19, 2001).

26
Case 3:19-cv-00834-TJ@&JRK Document1 Filed 07/16/19 «Rage 27 of 64 PagelD 27

necessary equipment and supplies utilized by the nonphysician personnel in performing those
diagnostic sleep and respiratory tests.”*

93. At no time during the Fraudulent Billing Period did a properly credentialed
physician — or, indeed, any physician at all ~ ever observe, monitor, or provide any direction
to the nonphysician personnel in performing those diagnostic sleep and respiratory tests.

94. At no time during the Fraudulent Billing Period did a properly credentialed
physician — or, indeed, any physician at all — ever provide the nonphysician personnel
administering such diagnostic tests a contact phone number so that the latter could reach out
to a physician in the event that events arose during a testing procedure that warranted a
physician’s involvement.

95. At no time during the Fraudulent Billing Period did a properly credentialed
physician — or, indeed, any physician at all — ever author policies and procedures to govern the
conduct of nonphysician personnel in administering diagnostic sleep and respiratory tests.

96. Performing diagnostic EKGs for both outpatients and inpatients was the
responsibility of respiratory therapists in the Cardiopulmonary Services department at
PCMC. At all times material to this Complaint, those respiratory therapists were obligated to
perform diagnostic EKGs in conformance with the orders given by the attending physicians at
PCMC.

97. However, "serial EKGs," which were (and are) ordered to aid in the diagnosis

of myocardial infarctions — i.e., heart attacks — frequently were not performed in accordance

 

28 The fact that there was never any physician supervising the various diagnostic sleep and respiratory tests
conducted at PCMC was well known to hospital administration. Indeed, PCMC’s CEO, Chris Mosley, actually
boasted to subordinates that he had saved PCMC money by not engaging a physician to provide such services.

27
Case 3:19-cv-00834-TJfmJRK Document1 Filed 07/16/19 «Rage 28 of 64 PagelD 28

with the orders given by the attending physicians because the night shift at PCMC was often
inadequately staffed.

98. The frequent inadequate staffing of respiratory therapists at PCMC was
directly traceable to the fact that the Chief Financial Officers (initially Stewart Whitmore and
subsequently Matthew Johnson) dictated staffing levels instead of — and regularly in
contravention of the medical judgments made by — the Director of Cardiopulmonary Services.

99. At all times material to this complaint, PCMC’s Chief Financial Officers
controlled staffing levels at the hospital by superimposing a system of “units of service" —
which system assigned a numeric value to each diagnostic test and procedure performed by the
respiratory therapists — upon all such staffing decisions. In other words, PCMC’s Chief
Financial Officers substituted an arcane financial calculus for independent medical judgments
as to the best interests of the patient population.

100. PCMC’s Chief Financial Officers were able to get away with these improper
practices as the direct and proximate consequence of the hospital’s noncompliance with 42
CFR 410.32.

101. Specifically, had an appropriately credentialed physician been put in place to
supervise “overall direction and control” of the Cardiopulmonary Services department at
PCMC, that supervising physician would have ensured that staffing judgments were made in
accordance with the best medical interests of the patient population — and not the pecuniary
interests of the hospital.

102. Furthermore, the absence of an appropriate credentialed physician to supervise
“overall direction and control” of the Cardiopulmonary Services department caused a further

violation of 42 CFR 410.32’s mandate. Specifically, at all times material to this Complaint,

28
Case 3:19-cv-00834-TJ@aJRK Document1 Filed 07/16/19 »age 29 of 64 PagelD 29

42 CFR 410.32 provided, and continues to provide, that "maintenance of the necessary
equipment and supplies are [to be] the continuing responsibility of the [supervising]
physician." Obviously, nothing of the sort ever occurred at PCMC since there was never an
appropriately credentialed supervising physician in place.

103. Accordingly, and by default, all “maintenance of the necessary equipment and
supplies” for performing diagnostic EKGs, EEGs, PFTs and PSGs became and remained the
continuing responsibility of nonphysician personnel. Exacerbating this deficiency is the fact
that xo physician had ever even written policies and procedures for the nonphysician personnel
to follow. In short, the nonphysician personnel were left to fend for themselves in this regard.

104. The failure of the Executive Administration at PCMC to provide a supervising
physician for the Cardiopulmonary Services department allowed the CFO to exercise overall
control of the diagnostic tests performed by virtue of his control of the purse and staffing
levels.

105. At no time material to this Complaint was either CFO (Whitmore or Johnson)
was a licensed physician.

106. Atno time material to this Complaint was either CFO (Whitmore or Johnson)
was a licensed respiratory therapist.

107. At no time material to this Complaint did either CFO (Whitmore or Johnson)
possess any medical credentials or qualifications relevant to rendering what amounted to
clinical judgments in determining the number of nonphysician personnel required to perform
diagnostic tests or render medical care to patients at PCMC.

108. Incident to an onsite investigation at PCMC that occurred in late 2015/early

2016 and was triggered by the tragic death of a child patient, the Florida Agency for Healthcare

29
Case 3:19-cv-00834-TJ@mJRK Document1 Filed 07/16/19 kage 30 of 64 PagelD 30

Administration concluded that PCMC’s staffing levels were inadequate. Those findings were
conveyed to PCMC’s Executive Administration and to HCA.

109. However, neither the repeated failures to perform "serial EKGs" (used to aid in
the diagnosis of heart attacks) as ordered by licensed physicians, nor even the death of a child,
served to convince the Executive Administration of PCMC that the Chief Financial Officer
lacked the medical or clinical qualifications to exercise “overall direction and control” of the
Cardiopulmonary Services department via staffing decisions.

110. Notwithstanding repeated prior warnings from the Director of
Cardiopulmonary Services (Kimberly Moore, an experienced licensed respiratory therapist) -
or even the written findings of the Florida Agency for Healthcare Administration — that staffing
levels of nonphysician personnel at PCMC were inadequate, the CFOs (Whitmore and then
Johnson) continued to exercise "overall direction and control" of the Cardiopulmonary
Services department’s staffing levels.

111.  Inshort, not a single one of the diagnostic PSG and respiratory tests performed
by nonphysician personnel at PCMC during the Fraudulent Billing Period complied with the
physician supervision requirements of 42 C.F.R. s.410.32, and therefore none of them were
eligible for payment under Medicare, Medicaid or any other Federal Healthcare Programs. See
42 C.F.R. 410.32(b)(1) (by definition, diagnostic testing services “furnished without the
required level of supervision are not reasonable and necessary”) (emphasis added).

112. Atall times material to this Complaint, the handling of nonphysician staffing
decisions by PCMC’s CFO was a decision made and approved by the hospital’s Executive

Administration.

30
Case 3:19-cv-00834-TJ@aJRK Document1 Filed 07/16/19 «age 31 of 64 PageID 31

113. Furthermore, at all times material to this Complaint, HCA was on notice of, and
either condoned or affirmatively authorized, the foregoing violations of 42 C.F.R. s.410.32.

114. Patient health and welfare were being jeopardized throughout the Fraudulent
Billing Period, but the laser-like focus of PCMC’s Executive Administration and HCA remain

the hospital’s bottom line.

C. Defendants’ Failure to Comply with Regulatory Requirements for Diagnostic
Testing Services Renders Physician Review of Testing and DME Ordered

for Patients Based on Such Testing Ineligible for Payment

115. Medicare Part B generally pays for the review and interpretation by the patient’s
physician of diagnostic test results and, if appropriate, the rental or purchase of durable medical
equipment prescribed by that patient’s physician — provided that the physician service and
durable medical equipment are deemed “necessary and reasonable for treatment of an illness
or injury.” CPAP and BiPAP machines are types of durable medical equipment.

116. As stated hereinabove, none of the diagnostic sleep and respiratory tests
performed by nonphysician personnel at PCMC during the Fraudulent Billing Period ever
complied with the physician supervision requirements of 42 C.F.R. 410,32, and therefore none
of them were ever eligible for payment under Medicare, Medicaid or any other Federal
Healthcare Programs as “necessary and reasonable” services.

117. As the efforts of the patient physicians in reviewing and interpreting those
diagnostic test results, and in prescribing CPAP devices based on those interpretations, were
premised entirely upon tests that failed to meet the “reasonable and necessary” standard, the

physician and durable medical equipment billings submitted by such providers likewise failed

31
Case 3:19-cv-00834-TJGalRK Document1 Filed 07/16/19 «Rage 32 of 64 PagelID 32

to meet the “reasonable and necessary” standard under Medicare, Medicaid or any other
Federal Healthcare Programs.”?

118. Accordingly, Defendants’ various compliance failures, and submission
misrepresentations and material omissions, “caused” the physician and DME providers to

submit false claims to Medicare, Medicaid and other Federal Healthcare Programs for

payment.

D. Defendants’ Failure to Comply with Regulatory Requirements for Diagnostic
Testing Services “Caused” Multiple Insurance Company Intermediaries to
Present Billings to the United States of America and the State of
Florida That Were Wholly Ineligible for Payment

 

 

119. Throughout the Fraudulent Billing Period, Defendants’ compliance failures,
and submission misrepresentations and material omissions, “caused” Blue Cross, United
Healthcare, Humana, Aetna and other insurance companies (the “Insurance Company
Intermediaries”) to unknowingly present false or fraudulent billings to the United States of
America and the State of Florida.

120. Throughout the Fraudulent Billing Period, the Insurance Company
Intermediaries collected payments from the United States of America and the State of Florida
that were then remitted to PCMC for having performed diagnostic sleep tests and other
respiratory tests in violation of 42 C.F.R. 410.32.

121. The presentation of those false or fraudulent billings to the United States of

America and the State of Florida comprised a significant percentage of the diagnostic sleep

 

*» The NCD issued by CMS for CPAP therapy for Obstructive Sleep Apnea on March 13, 2008 clearly requires
that any provision of CPAP devices be justified by a Medicare-sanctioned PSG test. See Publication Number 100-
3; Manual Section Number 240.4.

32
Case 3:19-cv-00834-TJfmJRK Document1 Filed 07/16/19 .«Rage 33 of 64 PagelD 33

and respiratory tests performed for patients with Medicare and Medicaid plans administered
by the Insurance Company Intermediaries.
E. False Claims Act Legal Standards
122. The False Claims Act provides for the award of treble damages and significant
civil penalties against those who, inter alia, knowingly cause the submission of false or
fraudulent claims for payment to the United States Government. 31 U.S.C. 3729(a)(1).
123. In pertinent part, the False Claims Act declares that any “person” that
knowingly presents, or causes to be presented, to an officer or employee of the
United States Government or a member of the Armed Forces of the United

States a false or fraudulent claim for payment or approval;

knowingly presents, or causes to be presented, a false or fraudulent claim for
payment or approval;

knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim...;

aK oe 2 [or]

knowingly makes, uses, or causes to be made or used, a false record or
statement material to an obligation to pay or transmit money or property to the
Government, or knowingly conceals or knowingly and improperly avoids or
decreases an obligation to pay or transmit money or property to the
Government,

is liable to the United States Government for a civil penalty of not less than

[$11,463] and not more than [$22,927]*° ..., plus 3 times the amount of
damages which the Government sustains because of the act of that person.

31 U.S.C. 3729(a)(1){A),(B),(G).
124. In illuminating the broad reach of the False Claims Act, Congress established
the following definitions in 31 U.S.C. s. 3729(b) that are germane to this action:

(1) the terms “knowing” and “knowingly”-

 

3° These individual civil penalty ranges are to be adjusted for inflation per the Federal Civil Penalties Inflation
Adjustment Act of 1990. 31 U.S.C. 3729(a}(1 )(G).

33
Case 3:19-cv-00834-TJfaJRK Document1 Filed 07/16/19 «mage 34 of 64 PagelD 34

(2)

(3)

(4)

(A)

(B)

mean that a person, with respect to information-

(i)
(il)

(iii)

has actual knowledge of the information;

acts in deliberate ignorance of the truth or falsity of the
information; or

acts in reckless disregard of the truth or falsity of the
information; and

require no proof of specific intent to defraud;

the term “claim”-

(A)

means any request or demand, whether under a contract or
otherwise, for money or property, and whether or not the
United States has title to the money or property, that-

(i)

(il)

is presented to an officer, employee or agent of the
United States; or

is made to a contractor, grantee, or other recipient, if the
money or property is to be spent or used on the
Government’s behalf or to advance a Government
program or interest, and if the United States
Government-

(I) provides or has provided any portion of the
money or property requested or demanded; or

(II} — will reimburse such contractor, grantee, or other
recipient for any portion of the money or property
which is requested or demanded....

the term “obligation” means an established duty, whether or not fixed,
arising from an express or implied contractual, grantor-grantee, or

licensor-licensee relationship, from a fee-based or similar relationship,
from statute or regulation, or from the retention of any overpayment;

and

the term “material” means having a natural tendency to influence, or
be capable of influencing, the payment or receipt of money or

property.

34
Case 3:19-cv-00834-TJG@maJRK Document1 Filed 07/16/19 sage 35 of 64 PagelD 35

G. Relevant Factual History

125. In May 2013, Relator was contacted by Kimberly Moore, the then-Director of
Cardiopulmonary Services at PCMC, and solicited to consider employment at PCMC’s Sleep
Lab. Moore and Relator had worked together at Highlands Regional Medical Center in
Sebring, Florida (“SHRMC”). From August 2010 through her departure in February/March
2013, Moore served as the Director of Cardiopulmonary Services at HRMC, was Relator’s
direct supervisor, and had been positively impressed by Relator’s work performance and
professionalism. Accordingly, when Moore perceived the need for improvements to be made
to PCMC’s Sleep Lab operations shortly after she began employment at PCMC, she thought
of Relator as a logical candidate.

126. On or about May 28, 2013, Relator made the trip from Sebring to Palatka,
Florida, to evaluate PCMC’s Sleep Lab, and speak further with Moore concerning potential
employment at PCMC.

127. After reviewing the equipment and inquiring into the protocols at PCMC’s
Sleep Lab, Relator advised Moore that he could not consider employment at PCMC.
Specifically, Relator informed Moore and PCMC’s then-Chief Nursing Officer, Kari Bolin,
that the equipment utilized by PCMC’s Sleep Lab failed to satisfy federal requirements, and
he would not consider employment at PCMC under those conditions. Relator was informed
by Moore that the PCMC Sleep Lab had utilized the deficient equipment in question — and
billing Medicare and Medicaid for PSG and CPAP tests performed in connection therewith —
since 2009!

128. In the presence of then-CNO Bolin, Moore then asked Relator what specific

actions he recommended be taken in light of the facts he had learned.

35
Case 3:19-cv-00834-TJfmJRK Document1 Filed 07/16/19 »kage 36 of 64 PagelD 36

129. Relator was very clear in his response; he stated to Moore and Bolin that the
Sleep Lab should be closed immediately and that Defendant, LifePoint, should self-report to
CMS the improper Medicare and Medicaid billings it had submitted over the approximate 4
year period during which noncompliant equipment had been relied upon to perform diagnostic
PSG testing on Sleep Lab patients.

130. _PCMC’s Sleep Lab was closed very shortly after Relator’s visit.*!

131. Moore and/or Bolin shared Relator’s findings and recommendations with
PCMC’s Risk Manager, Catherine Webb.

132. Shortly thereafter Webb briefed Susan Cherry, LifePoint’s Director of Risk
Management, concerning the matter and solicited guidance from Cherry regarding the
appropriate handling of the CMS self-report issue.

133. Upon information and belief, the obligation to self-report the improper
Medicare and Medicaid billings to CMS was also raised with LifePoint’s legal and compliance
departments, but LifePoint ultimately determined that disclosing the improper billing of
Medicare and Medicaid for PSG testing done at PCMC from 2009 through late May-early June
2013 need not — or should not — occur.

134. Upon information and belief, none of the Defendants has ever made disclosure
to CMS of the improper billing of Medicare and Medicaid for PSG testing done at PCMC from
2009 through late May-early June 2013.

135. PCMC did acquire federally compliant equipment for the Sleep Lab and Moore

thereafter approached Relator anew about prospective employment at PCMC. Relator

 

3! Discovery will evidence the precise date of the closure, but Relator knows that it occurred during the very brief
pericd of time between May 29 and June 4, 2013.

36
Case 3:19-cv-00834-TJfaJRK Document 1 Filed 07/16/19 «mage 37 of 64 PagelD 37

ultimately did accept an offer of employment as a technologist at PCMC’s Sleep Lab and began
working there in December 2013.

136. Between December 2013 and May 2015, Relator worked as a technologist in
the Sleep Lab and reported directly to Kimberly Moore, Director of Cardiopulmonary Services.
During that time frame, Relator was an hourly employee with no supervisory or management
responsibilities.

137. During September 2014, newspapers in Palatka reported that The Sleep
Medicine Center — an Independent Diagnostic Testing Facility (IDTF) which had a clinic
location in Palatka — had settled False Claim Act charges advanced by the Department of
Justice. This news was of particular interest to several PCMC employees since the owner of
The Sleep Medicine Center — Hubert Zachary — was a former PCMC employee. Zachary --
who referred to himself to other PCMC employees as “Dr. Zachary” despite not having a
license to practice medicine** — previously had managed PCMC’s Sleep Lab.

138. In a subsequent conversation he had with Kim Moore, Relator mentioned that
he had reviewed the Department of Justice website after learning of the news report, and
discovered that one of the charges the Department of Justice had leveled at The Sleep Medicine
Center involved its failure to provide the required physician supervision of the diagnostic sleep
tests performed there. Relator further observed to Moore that — as far as he was aware — no
physician supervision of the Sleep Lab was taking place at PCMC either. Relator also
mentioned that he had not received any physician training since he had been hired as a

technologist at PCMC.

 

32

Zachary was licensed as a Registered Respiratory Therapist and a Mental Health Counselor.

37
Case 3:19-cv-00834-TJ@RK Document1 Filed 07/16/19 »Rage 38 of 64 PagelD 38

139. Moore was under the impression that Dr. Iftikhar Ahmad, whom she understood
had the /itle of Medical Director of Cardiopulmonary Services at PCMC, had been providing
whatever physician supervision of the Sleep Lab federal law required.?

140. Surprised to hear from Relator that Dr. Ahmad might not have been providing
the physician supervision of the Sleep Lab required by law, Moore approached PCMC’s then-
CEO, Jerry Christine, to bring the matter to his attention. For her effort, Moore was tersely
told by Christine that contractual matters between the hospital and its physicians were his
responsibility, and the conversation quickly concluded.

141. In early March 2015, it was announced that HCA, through its HCA North
Florida Division, had entered into a contract with LifePoint to acquire PCMC.*4

142. Upon information and belief, HCA formally acquired PCMC on May 1, 2015.°°

143. In May 2015, Relator was promoted to the position of Manager of the PCMC
Sleep Lab. In that role, he reported directly to Moore, who continued to serve as PCMC’s
Director of Cardiopulmonary Services.

144. Inhis new role as Manager, Relator sought to do everything in his power during
the summer of 2015 to ensure that the Sleep Lab was being operated in full accordance with

all federal and state regulatory requirements.

 

33 Moore further mentioned that she had seen a copy of Dr. Ahmad's contract to serve as Medical Director of
Cardiopulmonary Services in 2013.

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hitps://www.staugustine.com/article/20 150305/business/303059939

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https:/Avww. bizjournals.com/jacksonville/news/2015/05/12/putnam-county-medical-center-reopens-under-

hca.htm|

38
Case 3:19-cv-00834-TJ@NJRK Document1 Filed 07/16/19 «Rage 39 of 64 PagelD 39

145. Relator first requested and received a copy of the “hospital privileges” of the
two “sleep physicians” at PCMC, Dr. Iftikhar Ahmad and Dr. Kaushalendra Singh, to
document the fact that PCMC had granted privileges in sleep medicine to them.

146. Relator thereafter scheduled an appointment with Dr. Ahmad at the latter’s
office to discuss sleep lab operations and document compliance with governing regulatory
requirements.*°

147. During their meeting, Relator explained that he had recently been promoted to
Manager of the Sleep Lab. Relator mentioned that he had been made aware of the fact that Dr.
Ahmad had been designated the Medical Director of Cardiopulmonary Services at PCMC, and
that Relator wished to have Dr. Ahmad approve written policies and procedures for the Sleep
Lab, and to have regular biweekly meetings with Dr. Ahmad to ensure that the Sleep Lab was
functioning in full accordance with Dr. Ahmad’s approved policies and procedures as Medical
Director. Relator also had brought to the meeting a document for Dr. Ahmad to sign that would
enable him to receive compensation for the time spent that day in meeting with Relator.

148. Dr. Ahmad advised Relator that notwithstanding his signature on the 2012
contract, Ahmad had never performed any of the duties of a Medical Director of
Cardiopulmonary Services or received any compensation for doing so.

149. During this meeting with Relator, Dr. Ahmad indicated that if PCMC Executive

Administration wished for him to serve as the Medical Director of Cardiopulmonary Services,

the terms set forth in the 2012 contract would have to be renegotiated. Specifically, Dr. Ahmad

 

*® Moore had shown Relator a copy of the contract that Dr. Ahmad apparently had signed with PCMC in 2012
providing for his appointment as Medical Director of Cardiopulmonary Services. That contract also provided Dr.
Ahmad was to be paid $120.00 per hour for shouldering the responsibilities of Medical Director. One of the
principal reasons Relator had sought the meeting with Dr. Ahmad was to ensure that the PCMC Sleep Lab would
have the required physician supervision in place to satisfy 42 CFR 410.32.

39
Case 3:19-cv-00834-TJ@eJRK Document1 Filed 07/16/19 «Rage 40 of 64 PagelD 40

stated to Relator that he was aware PCMC recently had been acquired by HCA and knew
Medical Directors at the HCA-owned hospital in Gainesville were receiving $24,000.00 per
year to perform Medical Director responsibilities. He advised that he would be willing to serve
as Medical Director of Cardiopulmonary Services at PCMC, but only if compensated at the
same $24,000.00 per year rate.

150. After returning to PCMC, Relator briefed Moore on the meeting and reported
that Dr. Ahmad was unwilling to serve as Medical Director of Cardiopulmonary Services
unless paid $24,000.00 per year for the additional responsibilities that role entailed.

151. Thereafter, Moore approached Dr. Singh to determine whether he would be
willing to serve as Medical Director of Cardiopulmonary Services at the $120.00 per hour rate
reflected in the 2012 “contract” between PCMC and Dr. Ahmad. Dr. Singh agreed to accept
those terms.

152. Moore thereafter sought a meeting with PCMC’s then-newly appointed CEO,
Chris Mosley, to brief him on the matter. At a meeting held in Mosley’s office on July 30,
2015, Moore informed PCMC’s CEO, inter alia, that under federal law she believed that
PCMC might be exposed to liability by not having a physician supervising the diagnostic sleep
lab and/or respiratory testing occurring at the hospital. She also shared that, throughout the
time she had been serving as Director of Cardiopulmonary Services, Dr. Ahmad — although
signatory to a 2012 contract to serve as Medical Director — had never performed any of the
duties of Medical Director, and claimed he had never been paid by PCMC for such duties.
Moore provided Mosley with a copy of Dr. Ahmad’s 2012 “contract” as well as a copy of 42

C.F.R. 410.32 for his review. To Moore’s surprise, Mosley pushed the copies of Dr. Ahmad’s

40
Case 3:19-cv-00834-TJ@*IRK Document 1 Filed 07/16/19 “Page 41 of 64 PagelD 41

“contract” and 42 C.F.R. 410.32 back across his desk towards her and tersely observed: “I
don’t see any problem with the situation.”?”

153. Given’s Mosley’s response, Moore determined that she needed to escalate the
matter to PCMC’s designated Compliance Officer. That next day, Moore emailed Stewart
Whitmore, PCMC’s Compliance Officer,*® to brief him on the matter on July 31, 2015. She
designated the importance of the communication as “High.” Moore’s email to Whitmore is
reproduced below, in pertinent part:

Stewart,

With the recent acquisition of PCMC by HCA, and our upcoming QRS
survey, there is a matter I believe requires clarification by you in your capacity as
our Compliance Officer. It regards the status of our “Medical Director”
(“Supervising Physician”) for Cardiopulmonary Services here at PCMC. This is
the issue I discussed with Chris Mosley July 30, 2015.

I am concerned that Dr. Iftikhar Ahmad may not be meeting the minimum
standard of “physician supervision” as medical director for Cardiopulmonary
Services, as set forth in Code of Federal Regulations 42 CFR 410.32:

“Levels of Supervision... diagnostic tests... must be furnished under at
least a general level of physician supervision....”; “Under general supervision, the
training of the non-physician personnel who actually perform a diagnostic

procedure and the maintenance of the necessary equipment and supplies are the
continuing responsibility of the physician.”

 

37 Despite all that Moore had shared with him, Mosley never followed up with either Dr. Ahmad or Dr. Singh to
determine for himself whether PCMC was performing the diagnostic PSG and respiratory testing in compliance
with the 42 C.F.R. 410.32 requirements. And contrary to HCA and PCMC policy, Mosley also never presented
the regulatory noncompliance issue to PCMC’s Ethics and Compliance Committee.

38 Whitmore also served as PCMC’s Chief Financial Officer.

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Case 3:19-cv-00834-TJ@RK Document1 Filed 07/16/19 «kage 42 of 64 PagelD 42

I am also concerned that Dr. Ahmad may not be meeting the minimum
standard of “physician supervision”, as set forth in Centers for Medicare &
Medicaid Services LCD L29949:

“Pursuant to 42 CFR 410.32(b) diagnostic tests payable under the
physician fee schedule that are furnished without the required level of supervision
by a physician are not reasonable and necessary.”

Moore concludes her email to Compliance Officer Whitmore by asking whether PCMC is
compliant with the “physician supervision” requirements set forth in the aforementioned
federal regulations.

154. On August 3, 2015, Whitmore responded to Moore’s email, copying CEO
Mosley. In his response, Whitmore completely ignores the issue presented under 42 CFR
410.32. A true and correct copy of the full email exchange between Moore and Compliance
Officer Whitmore is attached hereto and incorporated herein as EXHIBIT “A”.

155. Instead of acting with fidelity to his critical role as PCMC’s sole Compliance
Officer, Whitmore failed to undertake even rudimentary due diligence into the noncompliance
issue presented, and breached HCA and PCMC policy by failing to present the matter to
PCMC’s Ethics and Compliance Committee.

156. In November 2015, Moore requested that Relator assist her in completing a
report she was required to submit to PCMC’s Executive Administration relative to CMS’ Local
Coverage Determination for Polysomnography and Sleep Testing (the “PSG LCD”). This
report was required of PCMC by HCA and was intended to be shared with and reviewed by
compliance personnel at HCA corporate headquarters.

157. Perthe HCA report template provided, PCMC was to note, inter alia, any action

necessary to ensure that the hospital was acting in compliance with the PSG LCD. Relator

42
Case 3:19-cv-00834-TJ@8JRK Document1 Filed 07/16/19 «mage 43 of 64 PagelD 43

completed that section of the report and stated that the hospital needed to document its
compliance with the “physician supervision requirements” set forth in 42 C.F.R. 410.32.

158. However, and notwithstanding that HCA compliance personnel and PCMC’s
CEO and Compliance Officer were all notified of PCMC’s failure to comply with the
“physician supervision requirements” set forth in 42 C.F.R. 410.32, no corrective action was
undertaken by either HCA or PCMC.

159. Moore informed Relator that she continued to address the regulatory
noncompliance issue with compliance officials at PCMC, but those officials proved
unresponsive.

160. Shortly after HCA’s acquisition of PCMC in 2015, Chief Financial Officer
Stewart Whitmore began to assert control over the staffing levels of the nonphysician personnel
assigned to work all day and night shifts vis a vis a system of “units of service” — despite the
CFO lacking any license as a physician or respiratory therapist, any meaningful medical
education or any clinical qualifications whatsoever to evaluate the clinical staffing needs of the
Cardiopulmonary Services department at PCMC. Despite the CFO’s lack of clinical
qualifications, he sent nearly daily emails to Kimberly Moore insisting that she assign the
nonphysician personnel in the Cardiopulmonary Department to staffing levels based on the
CFO’s calculation of “units of service.”°?

161. Kimberly Moore, as a licensed respiratory therapist and Director of the

Cardiopulmonary Services Department at PCMC, repeatedly complained to both Stewart

 

© Upon information and belief, the practice of having an HCA hospital's staffing decisions determined by the
hospital’s chief financial officer either originated with, or was accepted and condoned by, HCA. Upon information
and belief, the methodology of utilizing “units of service" to address hospital staffing needs also originated with,
or was accepted and condoned by, HCA. In any event, HCA certainly was om notice of such practices, and either
explicitly or implicitly promoted them.

43
Case 3:19-cv-00834-TJ@aJRK Document1 Filed 07/16/19 ,dage 44 of 64 PagelD 44

Whitmore (Chief Financial Officer), and to Kari Bolin (Chief Nursing Officer) that the staffing
levels of the nonphysician personnel being imposed by the Chief Financial Officer were not
adequate for the clinical needs of the patients and posed a risk of harm to the patients. Within
only months thereafter, and despite having had a long and successful professional career in
cardiopulmonary services up to that point, Moore’s employment with PCMC was abruptly
terminated. Upon information and belief, the reason offered to justify that termination — i.e.,
breach of alleged confidentiality requirements — was a pretext. Moore had been terminated
from her position as Director of Cardiopulmonary Services to silence her, and also to send a
message to Relator (and perhaps other PCMC employees) that championing the need to correct
the hospital’s noncompliance with federal regulations could have very deleterious
consequences for one’s professional career.

140. In November 2016, the Director of Radiology services at PCMC, Debra Casey,
requested that Relator assist her in completing an updated report to be submitted to PCMC’s
Executive Administration and HCA relative to the Polysomnography Local Coverage
Determination. Relator met with Casey, provided her with the updated report, and advised her
that none of the Polysomnography Local Coverage Determination requirements had changed
in the 12 months that had elapsed since the preparation of the prior year’s report in November
2015. Relator also advised Casey that the hospital Executive Administration had failed to
correct the noncompliance with 42 C.F.R. 410.32 noted by him in the prior annual report. In
addition to supplying the updated report to Casey, Relator also emailed a copy to PCMC’s

Chief Nursing Officer.*”

 

*° True and correct copies of the report and Relator's email to PMC's Chief Nursing Officer, Kari Bolin, are
attached hereto and incorporated herein as COMPOSITE EXHIBIT “B”.

44
Case 3:19-cv-00834-TJ@JRK Document1 Filed 07/16/19 «mage 45 of 64 PagelD 45

141. In December 2016, Relator met with Moore’s successor, the then-newly hired
Director of Cardiopulmonary Services, David Hartzell, to brief him regarding PCMC’s
continuing violation of 42 C.F.R. 410.32 requirements. Relator informed Hartzell that the
hospital’s Executive Administration had failed to provide for the necessary physician
supervision of the diagnostic PSG and respiratory testing functions at PCMC. Relator further
explained to Hartzell that although a “contract” had been signed by Dr. Ahmad in 2012 to serve
as Medical Director for the Cardiopulmonary Services Department, Dr. Ahmad had never
performed any Medical Director services — or any supervisory function whatsoever via-a-vis
Sleep Lab operations. Relator also mentioned that the information he was sharing could be
verified by Hartzell if he were to review the records of all PCMC nonphysician personnel in
the Cardiopulmonary Services department to ascertain whether Dr. Ahmad had ever, in
compliance with 42 C.F.R. 410.32’s mandate: (a) supervised the ongoing training of any the
nonphysician personnel performing EKGs, EEGs, PFTs, echocardiograms or PSGs, and (b)
evaluated the equipment utilized by the nonphysician personnel in performing such diagnostic
testing services.

142. Subsequent to this meeting with Relator, Hartzell reviewed the personnel
records and confirmed the absence of any indication that Dr. Ahmad had supervised training
of those performing EKGs, EEGs, PFTs, echocardiograms or PSGs at PCMC. Hartzell further
verified the absence of any evidence Dr. Ahmad had ever evaluated or approved the equipment
utilized by the nonphysician personnel at the hospital in performing such diagnostic testing
services.

143. Shortly thereafter, Hartzell met with hospital CEO Mosley to discuss the matter.

Hartzell wanted to ascertain who the responsible supervising physician was for the .

45
Case 3:19-cv-00834-TJ@eJRK Document1 Filed 07/16/19 «Rage 46 of 64 PagelD 46

Cardiopulmonary Services Department. In response, Mosley showed Hartzell a copy of the
2012 “contract” with Dr. Ahmad and then laughingly boasted: “I haven’t paid this guy [i.e.,
Dr. Ahmad] a nickel!”

144. In January 2017, while reviewing the CMS website, Relator became aware of a
new LCD — L36839 —approved by the hospital’s MAC, Wisconsin Physician Services, and
scheduled for implementation in February 2017. LCD L36839 set forth two new mandates
directly applicable to PCMC’s Sleep Lab operations: first, hospital sleep labs would have to
secure a separate sleep lab specific accreditation if they didn’t already have that accreditation;
and second, physicians who were not board-certified in sleep medicine would only be
authorized to interpret PSG test results if associated with a hospital which had a board-certified
sleep medicine physician on staff.

145. Since in January 2017 PCMC complied with neither of these two additional
requirements, Relator immediately sought out and met with David Hartzell, showed him a copy
of the new LCD, and informed him of these further pending regulatory noncompliance issues.
Relator requested that Hartzell coordinate a meeting with PCMC’s Compliance Officer,
Matthew Johnson, so that these new requirements could be discussed and a plan of action to
bring the hospital into compliance therewith formulated.

146. At that meeting, Relator explained to Johnson that PCMC would need to act
quickly to comply with the new LCD before its intended implementation date or be foreclosed
from performing sleep studies on patients with Medicare and other federally funded healthcare
insurance. Relator further explained that neither Dr. Ahmad nor Dr. Singh would be eligible
to interpret sleep studies if PCMC did not secure a board-certified sleep medicine physician on

staff.

46
Case 3:19-cv-00834-TJ@aJRK Document1 Filed 07/16/19 .«jRage 47 of 64 PagelD 47

147. Johnson listened quietly as the information was presented, stated “Thank you
for bring this to my attention,” and then concluded the meeting without further comment.

148. Relator received no further communication from Johnson or anyone else at
PCMC regarding the concerns raised until Debra Casey emailed Relator on March 28, 2017.
Casey’s email to Relator had been prompted by an email she had received from HCA regarding
the new regulatory requirements set forth in L36839. Casey requested that Relator research
how PCMC might achieve compliance with the new LCD.

149. Over the following few weeks, Relator compiled for Casey detailed information
on how PCMC could achieve sleep lab accreditation and supplied her with a list of physicians
in the central Florida region who were board-certified in sleep medicine.

150. Over the next 13 months, i.e., through May 2018, Relator met with Hartzell
periodically to ascertain the progress PCMC Executive Administration was making in
becoming compliant with L36839, Hartzell advised Relator that CFO/Compliance Officer.
Johnson had assured him that an application had been submitted to the Joint Commission for
proper accreditation of PCMC’s Sleep Lab, and that Executive Administration was negotiating
a contract with a colleague of Dr. Singh’s, Dr. Mitra, a board-certified sleep medicine
physician, to serve as Medical Director/Supervising Physician for all diagnostic PSG and
respiratory testing services at PCMC.

151. In May 2018, however, Johnson advised Hartzell that PCMC had not been able
to consummate an agreement with Dr. Mitra to serve as Medical Director/Supervising
Physician, and that the Executive Administration had canceled its pending application with the

Joint Commission for proper accreditation of PCMC’s Sleep Lab.

47
Case 3:19-cv-00834-TJfmJRK Document 1 Filed 07/16/19 ,Rage 48 of 64 PagelD 48

152. Notwithstanding the fact that the hospital was operating in clear breach of at
least three separate federal regulations, PCMC continued to accept patients covered under
Medicare, Medicaid and other Federal Health Care Programs, continued to perform diagnostic
PSG and respiratory testing for them, and continued to submit false or fraudulent claims for
payment to the Government for those testing services.

153. Trying to find a viable solution to cure the hospital’s deficiencies under federal
regulatory requirements, Relator identified another physician who was board-certified in sleep
medicine, Dennis Sorresso, M.D., and provided Hartzell with his contact information. Relator
suggested Hartzell reach out to PCMC Executive Administration to request that they consider
Sorresso for the role of Medical Director/Supervising Physician. 154. Hartzell did follow
up with Executive Administration in this regard, and a meeting with Dr. Sorresso was arranged
during the summer of 2018.

155. Hartzell thereafter advised Relator that an agreement had been reached between
PCMC Executive Administration and Dr. Sorresso for the latter to serve as Medical
Director/Supervising Physician of all diagnostic PSG and respiratory testing personnel and
services. Kari Bolin, PCMC’s Chief Nursing Officer, confirmed to Relator as well that such
an agreement had been reached with Dr. Sorresso.*!

156. During the late summer of 2018, Hartzell informed Relator that Johnson had

advised that no agreement had been consummated with Dr. Sorresso to serve as Medical

Director/Supervising Physician, and that Dr. Sorresso had withdrawn his application for

 

4! Relator mentioned to Bolin that should for any reason an agreement not be consummated, he believed that Dr.
Bipin Bhatt would likely still be willing to sign a contract to serve as Medical Director/Supervising Physician.

48
Case 3:19-cv-00834-TJ@aJRK Document1 Filed 07/16/19 »age 49 of 64 PagelD 49

privileges at the hospital. Hartzell further informed Relator that Johnson had stated to him: “I
want to find a doctor who will do it for nothing.”

157. Notwithstanding the fact that the hospital continued to operate in clear breach
of at least three separate federal regulations, PCMC continued to accept patients covered under
Medicare, Medicaid and other Federal Health Care Programs, continued to perform diagnostic
PSG and respiratory testing for them, and continued to submit false or fraudulent claims for
payment to the Government for those testing services.

158. In September 2018, Hartzell arranged another meeting with the hospital’s
newly appointed CEO, Mark Dooley, and CFO/Compliance Officer Johnson, to discuss next
steps in achieving regulatory compliance. In advance of this meeting, Relator provided
information to both Dooley and Johnson regarding the qualifications and willingness of Dr.
Bipin Bhatt to serve as PCMC’s Medical Director/Supervising Physician.” Relator was invited
to, and attended, this meeting where Relator witnessed Hartzell plead with Dooley and
Johnson: “Help me get legit with this.”

159. In October 2018, Relator received a telephone call from the manager of the
sleep lab at Flagler Hospital in St. Augustine, Florida. She stated that patient R.H. had been
scheduled for a CPAP titration sleep study at Flagler Hospital, R.H.’s coverage was through
Medicare, and R.H.’s baseline sleep study had been performed at PCMC and interpreted by
Dr. Richard Feibelman. She also shared that in checking with the physician credentialing
organizations she discovered Dr. Feibelman was not properly credentialed as a board-certified

sleep medicine physician, and that unless he had been supervised at PCMC by a physician who

 

2 Dr. Bhatt was a board-certified sleep medicine physician from Highlands Regional Medical Center, another
HCA-owned hospital in central Florida (Sebring).

49
Case 3:19-cv-00834-TJ@"IRK Document1 Filed 07/16/19 «Rage 50 of 64 PagelD 50

was board-certified in sleep medicine, Flagler Hospital would not be able to proceed with the
CPAP titration sleep study as the baseline sleep study “would be invalid.”

160. Relator immediately reached out to Hartzell to brief him on this call and
requested that Hartzell promptly notify CFO/Compliance Officer Johnson concerning same.
Hartzell did so, and later told Relator that Johnson had responded that “there was nothing to
worry about,” and that should any calls of a like nature be received by Relator in the future
they should be referred directly to him (Johnson).

161. Relator then sought out and met with PCMC’s Director of Risk Management,
Carolyn Boyle, concerning the hospital’s continued performance of diagnostic PSG and
respiratory testing on patients covered by Medicare and other Federal Health Care Programs
while in breach of the regulatory requirements established by 42 CFR 410.32 and LCD
L36839. Relator further observed that, as the hospital was well aware that it was acting in
violation of regulatory requirements in performing such testing on patients covered by
Medicare and other Federal Health Care Programs, PCMC was causing its staff physicians
interpreting those diagnostic tests to likewise be in breach of federal regulatory requirements.
Director Boyle initially replied that the hospital was not responsible for the actions of its
physicians; however, Relator explained that since the hospital had granted privileges to these
physicians to interpret the results of these diagnostic tests — and had not canceled or withdrawn
those privileges upon becoming aware of the regulatory noncompliances, and that the hospital
had granted privileges in sleep medicine to Dr. Feibelman during the second half of 2017
despite its knowledge that Dr. Feibelman did not meet the physician certification requirements
contained in CMS LCD L36839 — it appeared to him that the hospital could be exposing itself

to potential liability in such regard.

50
Case 3:19-cv-00834-TJ@"IRK Document 1 Filed 07/16/19 amage 51 of 64 PagelD 51

162. Inthe months following the events referred to in paragraphs 159 through 161
hereinabove, absolutely no corrective measures were implemented by PCMC Executive
Administration. And notwithstanding the fact that the hospital continued to operate in clear
breach of at least three separate federal regulations, PCMC continued to accept patients
covered under Medicare, Medicaid and other Federal Health Care Programs, continued to
perform diagnostic PSG and respiratory testing for them, and continued to submit false or
fraudulent claims for payment to the Government for those testing services.

163. On December 22, 2018, during a Chamber of Commerce event at the hospital,
CFO/Compliance Officer Johnson asked Relator whether there were “any patients scheduled
tonight for sleep testing?” Relator responded: “Yes, we have a full house.” Johnson then asked
whether any of those patients were covered by Medicare. Relator responded in the affirmative,
and Johnson smirked. As all the members of PCMC Executive Administration were seated
together,” Relator perceived this as an opportunity to share what he believed to be a solution;
he offered: “The way to fix this problem is for you to sign a contract with Dr. Bipin Bhatt in
Sebring. He is board-certified in sleep medicine, and he is a staff physician at the HCA hospital
in Sebring.” CNO Moland then asked whether the hospital could “just meet the supervision
requirement on paper.” Relator replied that that was not a viable option, and offered to forward
to CNO Moland written authority underlying his conclusion in that regard.“ Relator also
advised that Dr. Bhatt had expressed a willingness to serve as PCMC’s Medical

Director/Supervising Physician, and was only asking $100.00 an hour for his time, inclusive

 

3 PCMC Executive Administration consisted of the CEO, the CFO/Compliance Officer and the CNO (Chief
Nursing Officer). As previously mentioned, the hospital’s CEO was Mark Dooley, and the hospital's
CFO/Compliance Officer was Matthew Johnson. The hospital’s CNO, Denise Moland, had only recently come
on board as of this December 22, 2018 conversation.

4 Relator’s follow up email to CNO Molland on December 28, 2018 is attached to this Complaint and incorporated
herein as EXHIBIT “C”.

51
Case 3:19-cv-00834-TJ@E"IRK Document1 Filed 07/16/19 «Rage 52 of 64 PagelD 52

of his travel time. Relator further shared that Dr. Bhatt had proposed visiting PCMC ona
monthly basis to meet with the staff and physically review the needs within the department,
and would also be available by phone on a daily basis to the staff performing the diagnostic
PSG and respiratory testing at PCMC. CNO Moland asked Relator to contact Dr. Bhatt to
confirm his continued interest and then to advise her accordingly.

164. Within the next few days, Relator spoke by phone with Dr. Bhatt and confirmed
his continued willingness to serve as Medical Director/Supervising Physician. On December
28, 2018, Relator emailed CNO Moland to apprise her of the same.

165. Inthe intervening 6 weeks, however, no corrective measures were implemented
by PCMC Executive Administration. Notwithstanding the fact that the hospital continued to
operate in clear breach of at least three separate federal regulations, PCMC continued to accept
patients covered under Medicare, Medicaid and other Federal Health Care Programs, continued
to perform diagnostic PSG and respiratory testing for them, and continued to submit false or
fraudulent claims for payment to the Government for those testing services.

166. Furthermore, when Relator contacted Dr. Bhatt directly, he advised that no one
from PCMC had reached out to him concerning the Medical Director/Supervising Physician
role at PCMC.

167. On January 29, 2019, Relator emailed CNO Moland urging her to contact Dr.
Bhatt to discuss the issue of Supervising Physician/Medical Director.

168. Ina subsequent conversation Relator had with Dr. Bhatt, the latter stated that
he had not been contacted by any member of the Executive Administration of PCMC.

Accordingly, Relator sought and was granted an appointment with CNO Moland to follow up

52
Case 3:19-cv-00834-TJ@SRK Document1 Filed 07/16/19 aRage 53 of 64 PagelD 53

on the status of Executive Administration’s decision regarding Dr. Bhatt’s engagement ve/ non
as Medical Director/Supervising Physician.

169. The meeting between Relator and Moland was scheduled to occur on February
11,2019 at 4:00 p.m. However, at 3:30 p.m., Relator was advised by CNO Moland’s executive
secretary, Noemi Alvarez, that Moland would not be able to attend.

170. Relator then was able to reschedule the meeting for February 12, 2019 at 1:00
p.m. However, at 12:00 noon on February 12, 2019, Ms. Alvarez contacted Relator to advise
that this rescheduled meeting had also been canceled.

171. At 4:00 p.m. that same day, February 12, 2019, Relator was informed by
Hartzell that PCMC Executive Administration had decided to close the Sleep Lab and
terminate the employment of all Sleep Lab employees.*°

172. Relator was stunned by PCMC’s decision to terminate the Sleep Lab operations.
Sleep Lab revenues had been growing, and Sleep Lab operations had proven quite profitable
for the hospital over a several year time frame. In his conversation with Relator, Hartzell was
unable to offer any rationale for the hospital’s decision.

173. The termination letter received by Relator, dated February 12, 2019, was
equally unrevealing. It stated:

After a careful review of how we can best support the company’s efforts, the decision

has been made to discontinue providing Sleep Lab Services. Based on this decision all
positions will be eliminated.

 

45 Incongruously, the respiratory therapists who also had been performing diagnostic testing at PCMC in violation
of federal regulations were not terminated. Upon information and belief, after March | 2019 and continuing
unabated to date, PCMC continued to accept patients covered under Medicare, Medicaid and other Federal Health
Care Programs, perform diagnostic respiratory testing for them, and submit false or fraudulent claims for payment
to the Government for those testing services.

53
Case 3:19-cv-00834-TJ@"IRK Document1 Filed 07/16/19 «Rage 54 of 64 PagelD 54

A true and correct copy of that termination letter is attached to this Complaint and incorporated
herein as EXHIBIT “D”.*°

174. As will be explained further in Count VII of this Complaint, Relator’s
termination was an unlawful, retaliatory act, ie., an act taken as the direct consequence of his
efforts in pressing for the hospital to correct its failure to comply with governing federal
regulatory requirements.

175. Throughout his employment with PCMC, Relator received uniformly excellent
performance evaluations and the Sleep Lab had operated very profitably. At no time prior to
receiving his notice of termination had anyone associated with PCMC made mention of any
matter that would conceivably suggest that the scuttling of all Sleep Lab operations was an
option under consideration by PCMC.

176. And, from an objective business perspective, it made no logical sense for the
hospital to eliminate a very profitable segment of its operations when compliance with the
federal regulations that Relator had long advocated for necessitated but modest additional

expenditures by the hospital.*”

H. Quantifying the Actual Damages Sustained by the U.S. Government

177. Throughout the Fraudulent Billing Period, Defendants submitted thousands of

false or fraudulent claims to Medicare, Medicaid and other Federal Healthcare Programs for

 

46 Relator’s termination letter was issued under CEO Dooley's signature and concluded with: “I have enjoyed
working with you and hope the best for you both personally and professionally. Please let me know if there's
anything I[ can do to further assist you during this transition process."

7 As alleged supra, Relator was far from alone in advocating that PCMC make the necessary changes to bring
the Sleep Lab into compliance with governing legal requirements. Kimberly Moore, who served as Director of
Cardiopulmonary Services until her employment was terminated in July 2016, had advocated to PCMC Executive
Administration and HCA’s risk management, regulatory compliance and legal departments for such changes. The
current Director of Cardiopulmonary Services, David Hartzell, even pleaded with PCMC’s CEO Dooley and
CFO/Compliance Officer Johnson: “Help me get legit with this.”

54
Case 3:19-cv-00834-TJ@*IRK Document 1 Filed 07/16/19 «Rage 55 of 64 PagelD 55

diagnostic PSG and respiratory testing services that they knew, or clearly should have known,
were ineligible for payment.

178. Throughout the Fraudulent Billing Period, the amounts billed by Defendants to
Medicare for each PSG and CPAP test service varied only slightly from year to year.*8

179. Throughout the Fraudulent Billing Period, the average amount billed by
Defendants to Medicare for each PSG test performed at PCMC and coded under CPT 95810
was approximately $640.00.4°

180. Throughout the Fraudulent Billing Period, the average amount billed by
Defendants to Medicare for each CPAP test performed at PCMC and coded under CPT 95811
was approximately $670.00.

181. Throughout the Fraudulent Billing Period, the average amount billed by
Defendants to Medicaid a secondary insurance for each PSG test performed at PCMC and
coded under CPT 95810 was approximately $350.00.

182. Throughout the Fraudulent Billing Period, the average amount billed per
patient for DME equipment and supplies purchases caused by the Defendants’ false or
fraudulent submissions of PSG and CPAP tests was approximately $4,370.00 over a five-year

period.”

 

48 CMS created an online resource to permit providers to identify the amounts payable for specific services at :

https://www.cms.gov/apps/physician-fee-schedule/search/search-criteria.aspx The amounts set forth in this
Complaint were checked against the CMS published amounts, and are fully consistent therewith.

“? The amounts posited in paragraphs 178 and 179 are inclusive of the physician portion of the false or fraudulent
billing.

°° The approximate first year billings per patient for DME equipment and supplies was approximately $1,250.00,

and $780.00 for years 2 through 5. The CPT codes for such equipment and supplies are E0601, A4604, A7034,
A7035, A7036, A7038, A7046 and E5062.

55
Case 3:19-cv-00834-TJ@"IRK Document1 Filed 07/16/19 «Rage 56 of 64 PagelD 56

183. Throughout the Fraudulent Billing Period (and upon information and belief
continuing unabated to date), Defendants have submitted false or fraudulent billings to
Medicare, Medicaid and all other federally funded programs for respiratory diagnostic tests
(EKGs, EEGs and Pulmonary Function Tests).

184. Additionally, after he was hired to work as a sleep lab technologist at PCMC,
Relator personally reviewed hospital records reflecting the PSG and CPAP tests administered
to patients during the time period of 2009-2013. Relator alleges that, based upon this review,
PCMC’s Sleep Lab performed over 600 PSG and CPAP tests during the time period of 2009-
2013. LifePoint submitted, or caused to be submitted, false or fraudulent billings to Medicare,
Medicaid and all other federally funded programs for each one of them. Furthermore,
LifePoint caused to be submitted false or fraudulent billings to Medicare, Medicaid and all
other federally funded programs for DME equipment and supplies purchases caused by its false
or fraudulent submissions of PSG and CPAP tests.°!

185. Upon information and belief, the total amount of false or fraudulent billing of
Medicare, Medicaid, and all other federally funded programs by Defendants has exceeded
$8,000,000 to date. Upon information and belief, and in accordance with the dictates of 31
U.S.C. 3729(a)(1), Defendants are liable to the United States of America in an amount not less

than $276,186,000.00, and potentially in excess of $528,394,000.00.*

 

5! As alleged in paragraphs 106 through 113 of this Complaint, LifePoint knew or should have known of its
obligation under federal law to self-report and refund all monies received as a result of said false or fraudulent
billings. And, as alleged in paragraph 67 through 69 of this Complaint, HCA and Putnam Community Medical
Center of North Florida, LLC bear joint and several responsibility for such false or fraudulent billings and failure
to self-report and refund all monies received as a result of said false or fraudulent billings.

>? Pursuant to 31 U.S.C. 3729(a)(1), the actual damages amount of $8,000,000.00+ is to be trebled by the Court.
Additionally, a civil penalty of not less than $11,463.00 and not more than $22,927.00 - adjusted for inflation - is
to be assessed for each false or fraudulent claim. Upon information and belief, at feast 22,000 separate false or
fraudulent claims have been presented to, and paid by, the United States of America to date.

56
Case 3:19-cv-00834-TJ@*IRK Document 1 Filed 07/16/19 «@age 57 of 64 PagelD 57

VI. THE CAUSES OF ACTION
Count IJ - Violation of the Federal False Claim Act - 31 U.S.C 3729(a)(1)(A)

186. Relator realleges and incorporates by reference paragraphs 1 through 171, and
177 through 185, of this Complaint as though fully set forth herein.

187. Through the various acts and omissions described above, Defendants, and their
agents and employees, in reckless disregard for or deliberate ignorance of the truth or falsity
of the information involved, or with actual knowledge of the falsity of the information,
presented or caused to be presented, and upon information and belief are still presenting or
causing to be presented, to the United States of America, false and fraudulent claims, records
and statements in order to obtain payment or approval of payment for healthcare services that
were and are ineligible for payment, in violation of 31 U.S.C. 3729(a)(1)(A).

188. The United States of America, unaware of the falsity of the claims, records and
statements made by the Defendants, and in reliance on the accuracy and integrity of such
claims, records and statements, paid, and upon information and belief continues to pay, for
healthcare services that were and are ineligible for payment.

189. Asaresult of the various acts and omissions described above, the United States
of America has been, and continues to be, severely damaged.

Count II - Violation of the Federal False Claim Act - 31 U.S.C 3729(a)(1)(B)

190. Relator realleges and incorporates by reference paragraphs | through 171, and
177 through 185, of this Complaint as though fully set forth herein.

191. Through the various acts and omissions described above, Defendants, and their
agents and employees, in reckless disregard for or deliberate ignorance of the truth or falsity

of the information involved, or with actual knowledge of the falsity of the information, made,

57
Case 3:19-cv-00834-TJ@"IRK Document 1 Filed 07/16/19 «mage 58 of 64 PagelD 58

use, or caused to be made or used, and upon information and belief are still making, using, or
causing to be made or used, to the United States of America, false records or statements
material to false or fraudulent claims for payment or approval of payment for healthcare
services that were ineligible for payment, in violation of 31 U.S.C. 3729(a)(1)(B).

192. The United States of America, unaware of the falsity of the claims, records and
statements made by the Defendants, and in reliance on the accuracy and integrity of such
claims, records and statements, paid, and upon information and belief continues to pay, for
healthcare services that were and are ineligible for payment.

193. Asaresult of the various acts and omissions described above, the United States
of America has been, and may continue to be, severely damaged.

Count II] - Violation of the Federal False Claim Act - 31 U.S.C 3729(a)(1)(G)

194. Relator realleges and incorporates by reference paragraphs | through 171, and
177 through 185, of this Complaint as though fully set forth herein.

195. Defendants. at all times material to this action, had and continue to have an
ongoing legal obligation to report and disclose overpayments to the United States of America
pursuant to, inter alia, 42 U.S.C. 1320a-7a. b. ¢ and d: 42 U.S.C. 1395u: 42 C.F.R. 401.601,
405.377. 405.378: 42 C.F.R. 405.301-379; 42 C.F.R. 489.20; 42 C.F.R. 489.40-41; but failed
to do so.

196. Through the various acts and omissions described above, Defendants, and their
agents and employees, in reckless disregard for or deliberate ignorance of the truth or falsity
of the information involved, or with actual knowledge of the falsity of the information,

concealed or improperly avoided or decreased an obligation to pay or transmit money or

58
Case 3:19-cv-00834-TJG@IRK Document 1 Filed 07/16/19 «Rage 59 of 64 PagelD 59

property to the United States of America relating to payments had and received for healthcare
services that were ineligible for payment, in violation of 31 U.S.C. 3729(a)(1)(G).

197. Asaresult of the various acts and omissions described above, the United States
of America has been, and continues to be, severely damaged.

Count IV - Violation of the Florida False Claim Act — Fla, Sta. s.68.083(2)(a)

198. Relator realleges and incorporates by reference paragraphs | through 171, and
177 through 185, of this Complaint as though fully set forth herein.

199. This is a civil action brought by Relator, on behalf of the State of Florida,
against Defendants under the Florida False Claims Act, Fla. Stat. 68.083(2).

200. Through the various acts and omissions described above, Defendants, in
reckless disregard or deliberate ignorance of the truth or falsity of the information involved, or
with actual knowledge of the falsity of the information, knowingly presented, or cause to be
presented, and upon information and belief, continue to knowingly present or cause to be
presented, to an officer or employee of the State of Florida, or its agencies, false or fraudulent
claims for payment or approval, in violation of Fla. Stat. 68.082(2)(a).

201. The State of Florida, or its agencies, unaware of the falsity of the claims, records
and statements made by the Defendants, and in reliance on the accuracy and integrity of such
claims, records and statements, paid, and upon information and belief continues to pay, for
healthcare services that were and are ineligible for payment.

202. As a result of the various acts and omissions described above, the State of

Florida, or its agencies, have been, and may continue to be, severely damaged.

59
Case 3:19-cv-00834-TJCG-JIRK Document 1 Filed 07/16/19 aRage 60 of 64 PagelD 60

Count V - Violation of the Florida False Claim Act — Fla. Sta. 68.083(2)(b)

203. Relator realleges and incorporates by reference paragraphs | through 171, and

 

177 through 185, of this Complaint as though fully set forth herein.

204. This is a civil action brought by Relator, on behalf of the State of Florida,
against Defendants under the Florida False Claims Act, Fla. Stat. 68.083(2).

205. Through the various acts and omissions described above, Defendants, and their
agents and employees, in reckless disregard for or deliberate ignorance of the truth or falsity
of the information involved, or with actual knowledge of the falsity of the information, made,
use, or caused to be made or used, and upon information and belief are still making, using, or
causing to be made or used, to an officer or employee of the State of Florida, or its agencies,
false records or statements material to false or fraudulent claims for payment or approval of
payment for healthcare services that were ineligible for payment, in violation of Fla. Stat.
68.082(2)(b).

206. The State of Florida, or its agencies, unaware of the falsity of the claims, records
and statements made by the Defendants, and in reliance on the accuracy and integrity of such
claims, records and statements, paid, and upon information and belief continues to pay, for
healthcare services that were and are ineligible for payment.

207. Asa result of the various acts and omissions described above, the State of
Florida, or its agencies, have been, and may continue to be, severely damaged.

Count VI - Violation of the Florida False Claim Act — Fla. Sta. 68.083(2)(g)

208. Relator realleges and incorporates by reference paragraphs | through 171, and

177 through 185, of this Complaint as though fully set forth herein.

60
Case 3:19-cv-00834-TIJ@-IRK Document 1 Filed 07/16/19 MARage 61 of 64 PagelD 61

209. This is a civil action brought by Relator, on behalf of the State of Florida,
against Defendants under the Florida False Claims Act, Fla. Stat. 68.083(2).

210. The State of Florida, or its agencies, unaware of the falsity of the claims, records
and statements made by the Defendants, and in reliance on the accuracy and integrity of such
claims, records and statements, paid, and upon information and belief continues to pay, for
healthcare services that were and are ineligible for payment.

211. Defendants, and their agents and employees, in reckless disregard for or
deliberate ignorance of the truth or falsity of the information involved, or with actual
knowledge of the falsity of the information, concealed or improperly avoided or decreased an
obligation to pay or transmit money or property to an officer or employee of the State of
Florida, or its agencies, relating to those payments had and received for healthcare services
that were ineligible for payment, in violation of Fla. Stat. 68.082(2)(g).

212. Asa result of the various acts and omissions described above, the State of

Florida, or its agencies, have been, and continues to be, severely damaged.

Count VII - Violation of the Federal False Claim Act - 31 U.S.C 3730(h)

(Unlawful Retaliation Claim Against HCA and Putnam Community
Medical Center of North Florida, LLC)

213. Relator realleges and incorporates by reference paragraphs 1 through 58, and
70 through 185, of this Complaint as though fully set forth herein.

214. Relator suffered an adverse employment action for voicing opposition to an
employment practice at PCMC, and encouraging compliance with 42 C.F.R. 410.32 and the
WPS LCD requiring that providers providing diagnostic PSG testing (and respiratory testing
related thereto) have a properly credentialed physician with recognized sleep medicine

expertise on staff to supervise such testing.

61
Case 3:19-cv-00834-TJ@IRK Document1 Filed 07/16/19 amRage 62 of 64 PagelD 62

215. Relator was, at all times material to this Complaint, an “employee” pursuant to
31 U.S.C. 3730(h)(1).

216. HCA and Putnam Community Medical Center of North Florida, LLC acted in
concert and conspired to terminate Relator from his employment as the result of, and in
retaliation for, his investigation and reporting of, and efforts to seek to correct, the failure of
PCMC to comply with 42 C.F.R. 410.32 and the WPS LCD, and for encouraging compliance
therewith.

217. Relator was terminated as the direct and proximate consequence of his
voluntarily performing lawful acts to investigate, report and seek to correct one or more
violations of the False Claims Act. Such voluntary lawful acts of Relator constituted activities
protected by the False Claims Act.

218. HCA and Putnam Community Medical Center of North Florida, LLC each
knew, or should have known, that the decision to terminate Relator was unlawful under 31
U.S.C. 3730(h).

219. As consequence of the unlawful retaliation engaged in by HCA and Putnam
Community Medical Center of North Florida, LLC, Relator has suffered and continues to
suffer damages.

VII. PRAYER FOR RELIEF

WHEREFORE, Willard Revels, as Relator, prays for judgment to be entered against
Defendants as follows:

1. that Defendants be ordered to cease and desist from submitting, or causing to

be submitted, any further false claims. or further violating 31 U.S.C. 3729 et

seq., and Fla. Stat. 68.081 et seq.;

62
Case 3:19-cv-00834-TJG-IRK Document1 Filed 07/16/19 ABage 63 of 64 PagelD 63

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that judgment be entered in favor of the United States of America and Relator
against the Defendants in an amount not less than $276,186,000.00 and
potentially in excess of $528,394,000.00, in accordance with 31 U.S.C.
3729(a):

that judgment be entered in favor of the State of Florida and Relator against the
Defendants in an amount representing the sum of each and every false or
fraudulent claim, trebled in accordance with Fla. Stat. 68.082(2), plus a civil
penalty of not less than $11,463.00 and no more than $22,927.00 per claim, as
provided by Fla. Stat. 68.082(2):

that Relator be awarded the maximum amount permissible according to 31
U.S.C. 3730(d) and Fla. Stat. 68.085;

that Defendants be ordered to disgorge all sums by which they each have been
unjustly and unlawfully enriched by their unlawful conduct;

that judgment be entered in favor of Relator against HCA and Putnam
Community Medical Center of North Florida, LLC for all appropriate relief
pursuant to 31 U.S.C. 3730(h), including but not limited to: (a) two times the
amount of compensatory backpay and benefits due Relator; (b) interest on said
backpay and benefits due Relator; (c) other compensatory damages proximately
caused by the unlawful retaliatory acts of said Defendants, including those
incurred in having to travel out of the State in order to interview for new
comparable employment and all relocation expenses incurred; and (d) costs and

reasonable attorney’s fees;

63
Case 3:19-cv-00834-TJC-JRK Document1 Filed 07/16/19 Rage 64 of 64 PagelD 64

7. that judgment be entered in favor of the United States of America and Relator
against the Defendants in an amount representing the sum of all recoverable
costs incurred in this action, including, but not limited to, filing fees, expert
witness fees, and all reasonable attorney’s fees incurred by Relator in the
prosecution of this action. as may be apportioned among the Defendants by this
Court: and

8. that the United States of America and Relator be granted such other and further
relief as this Court finds just and proper.

VIII. DEMAND FOR JURY TRIAL

Relator hereby demands a trial by jury of all issues so triable in this action.
Respectfully submitted this 16" day of July 2019.

/s/ James A. Gustino

Florida Bar No. 612499

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64
